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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

CAROLYN SMITH, THE VILLAGE AT              §
HUNTERS CROSSING, L.L.C. and               §
LIRTEX PROPERTIES, LLC,                    §
                                           §
           Plaintiffs,                     §
                                           §
v.                                         §
                                           §
THE CITY OF BASTROP, TEXAS,                §
CONNIE SCHROEDER, WILLIE LEWIS §
“BILL” PETERSON, DRUSILLA                  §
ROGERS, LYLE NELSON, BILL ENNIS, §
and DOCK JACKSON, each in his or her       §
official capacity as a member of the City  §
Council of the City of Bastrop, Texas, and §           CIVIL ACTION NO. 1:19-cv-01054
LYNDA HUMBLE, DRUSILLA                     §
ROGERS, RICK WOMBLE, MICHELLE §
DODSON, LYLE NELSON AND                    §
TABITHA PUCEK, each in his or her          §
official capacity as a Director of Hunters §
Crossing Local Government Corporation, §
and TF HUNTERS CROSSING, L.P. as           §
successor-in-interest to FORESTAR (USA) §
REAL ESTATE GROUP, INC.,                   §
                                           §
        Defendants.                        §
                                           §
                                           §



                                  NOTICE TO THE COURT
TO THE HONORABLE JUDGE ROBERT PITMAN:
        Pursuant to the Court’s Pretrial Order [Dkt. 101] and Local Rule CV-16(e), Plaintiffs

Carolyn Smith, The Village at Hunters Crossing, LLC, and Lirtex Properties, LLC, timely submit

the following pretrial documents (as applicable), which are attached to this document as:


    •   Exhibit A:     Stipulated Facts. See Local Rule CV-16(e)(3).



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             Case 1:19-cv-01054-RP Document 104 Filed 04/21/21 Page 2 of 86




    •   Exhibit B:     Plaintiffs’ Exhibit List. See Local Rule CV-16(e)(4).

    •   Exhibit C:     Plaintiffs’ Witness List. See Local Rule CV-16(e)(5).

    •   Exhibit D:     Plaintiffs’ Proposed Findings of Fact and Conclusions of Law. See Local
                       Rule CV-16(e)(8).

    •   Exhibit E:     A Statement of an Estimate of the Probable Length of Trial. See Local Rule
                       CV-16(e)(10).




        Respectfully submitted,



                                             By: /s/ Richard D. Milvenan
                                                 Richard D. Milvenan
                                                 Texas Bar No. 14171800
                                                 Ian M. Davis
                                                 Texas Bar No. 24120793

                                                   MCGINNIS LOCHRIDGE LLP
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                                                   idavis@mcginnislaw.com

                                             COUNSEL FOR PLAINTIFFS




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             Case 1:19-cv-01054-RP Document 104 Filed 04/21/21 Page 3 of 86




                                CERTIFICATE OF SERVICE
        I hereby certify that on April 21, 2021, the above and foregoing instrument was
electronically filed with the Clerk of the Court using the CM/ECF system, which will send a notice
of electronic filing to all counsel of record as follows:
         George E. Hyde                             Carl ‘Bo’ Dawson
         Bradford E. Bullock                        Ryan & Dawson
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         bbullock@txlocalgovlaw.com
         (866) 929-1641 – fax                       Counsel for Defendant Forestar (USA)
                                                    Real Estate Group, Inc.
         Counsel for Defendant City of Bastrop
         and Individual Defendants

         Michael J. Whellan
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         Counsel for Defendant
         TF Hunters Crossing, L.P.



                                             /s/ Richard D. Milvenan
                                             Richard D. Milvenan




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Case 1:19-cv-01054-RP Document 104 Filed 04/21/21 Page 4 of 86




               EXHIBIT A
             Case 1:19-cv-01054-RP Document 104 Filed 04/21/21 Page 5 of 86




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

CAROLYN SMITH, THE VILLAGE AT              §
HUNTERS CROSSING, L.L.C. and               §
LIRTEX PROPERTIES, LLC,                    §
                                           §
           Plaintiffs,                     §
                                           §
v.                                         §
                                           §
THE CITY OF BASTROP, TEXAS,                §
CONNIE SCHROEDER, WILLIE LEWIS §
“BILL” PETERSON, DRUSILLA                  §
ROGERS, LYLE NELSON, BILL ENNIS, §
and DOCK JACKSON, each in his or her       §
official capacity as a member of the City  §
Council of the City of Bastrop, Texas, and §          CIVIL ACTION NO. 1:19-cv-01054
LYNDA HUMBLE, DRUSILLA                     §
ROGERS, RICK WOMBLE, MICHELLE §
DODSON, LYLE NELSON AND                    §
TABITHA PUCEK, each in his or her          §
official capacity as a Director of Hunters §
Crossing Local Government Corporation, §
and TF HUNTERS CROSSING, L.P. as           §
successor-in-interest to FORESTAR (USA) §
REAL ESTATE GROUP, INC.,                   §
                                           §
        Defendants.                        §
                                           §
                                           §



                                   STIPULATED FACTS
TO THE HONORABLE UNITED STATES DISTRICT JUDGE ROBERT L. PITMAN:
        Pursuant to Local Rule CV-16(e)(3), Plaintiffs Carolyn Smith, The Village at Hunters

Crossing, L.L.C., and LIRTEX Properties, LLC, (“Plaintiffs”) and Defendants City of Bastrop,

Texas, Connie Schroeder, Willie Lewis “Bill” Peterson, Drusilla Rogers, Lyle Nelson, Bill Ennis,

Dock Jackson, Paul Hofmann, Rick Womble, Michelle Dodson and Tabitha Pucek (“City



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Defendants”), and TF Hunters Crossing, LP (combined “Defendants”) file the following stipulated

facts for trial in the above-referenced and numbered case:

1.      On September 11, 2001, the City of Bastrop (the “City”) approved Resolution No. R-2001-
        19.
2.      On November 11, 2003, the City approved Resolution No. R-2003-34.
3.      On November 11, 2003, the City approved Resolution No. R-2003-36.
4.      On November 13, 2003, the City published notice in the Bastrop Advertiser of a public
        hearing to be held on November 25, 2003 regarding Ordinance No. 2003-35.
5.      On November 25, 2003, the City Council approved the first reading of Ordinance No.
        2003-35.
6.      On December 9, 2003, the City adopted Ordinance No. 2003-35 (the “2003 Ordinance”).
7.      On February 2, 2004, the 2003 Ordinance was recorded as document no. 200401641 in the
        real property records of Bastrop County.
8.      At the time the 2003 Ordinance was enacted, the original PID developer, Sabine Investment
        Company (“Sabine”), owned all of the properties in the PID except for three properties: (i)
        “HXC-1 (Home Depot Lot 1) (property ID no. 90301); (ii) HXC-1 (Chilis Lot 1) (property
        ID no. 92325); and (iii) HXC-1 (Balance of Retail Lot 2) (property ID no. 95379).
9.      On February 24, 2004, the original PID developer, Sabine, entered into a Development and
        Reimbursement Agreement with the City.
10.     On November 11, 2004, the City published notice in the Bastrop Advertiser of a public
        hearing to be held on November 23, 2004, to consider an amendment to the 2003
        Ordinance.
11.     On December 14, 2004, the City adopted Ordinance No. 2004-42 (the “2004 Ordinance”).
12.     On December 27, 2004, the 2004 Ordinance was recorded as document no. 200420005 in
        the real property records of Bastrop County.
13.     Plaintiff Carolyn Smith is an individual residing in Bastrop, Texas, acting as Trustee of the
        Smith Family Revocable Trust.
14.     Carolyn Smith’s residence is identified as property ID no. R95408 in Ordinance No. 2019-
        40 (the “2019 Ordinance”).
15.     Plaintiff LIRTEX Properties, LLC (“LIRTEX”) is a Texas limited liability company doing
        business in Bastrop, Texas.
16.     LIRTEX owns the real property identified as HXC-2 in the 2003 Ordinance, and property
        ID nos. R114958 and R30102 in the 2019 Ordinance.


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17.     Plaintiff The Village at Hunters Crossing, LLC (“VHC”) is a Texas limited liability
        company doing business in Bastrop, Texas.
18.     VHC owns portions of the real property identified as HXC-5, HXM-1, and HXP-4 in the
        2003 Ordinance, and property ID no. R104899 in the 2019 Ordinance.
19.     Defendant The City of Bastrop, Texas is a home-rule municipality located in Bastrop
        County, Texas.

20.     Defendant The Hunters Crossing Local Development Corporation (“HCLGC”) was
        incorporated on March 23, 2004.

21.     Defendant Connie Schroeder is sued in her official capacity as Mayor and Council Member
        of the City of Bastrop.

22.     Defendant Willie Lewis “Bill” Peterson is sued in his official capacity as a Council
        Member of the City of Bastrop.

23.     Defendant Drusilla Rogers is sued in her official capacity as a Council Member of the City
        of Bastrop and in her official capacity as Director of Hunters Crossing Local Government
        Corporation

24.     Defendant Lyle Nelson is sued in his official capacity as a Council Member of the City of
        Bastrop and in his official capacity as Director of Hunters Crossing Local Government
        Corporation

25.     Bill Ennis is sued in his official capacity as a Council Member of the City of Bastrop.

26.     Dock Jackson is sued in his official capacity as a Council Member of the City of Bastrop.

27.     Paul Hofmann is sued in his official capacity as Director of Hunters Crossing Local
        Government Corporation.

28.     Rick Womble is sued in his official capacity as Director of Hunters Crossing Local
        Government Corporation.

29.     Michelle Dodson is sued in her official capacity as Director of Hunters Crossing Local
        Government Corporation.

30.     Tabitha Pucek is sued in her official capacity as Director of Hunters Crossing Local
        Government Corporation.

31.     At the inception of the PID, the original PID developer was Sabine Investment Company
        (“Sabine”).



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32.     Sometime in 2005, Sabine changed its name to Forestar (USA) Real Estate Group, Inc.
        (“Forestar”).
33.     At the time the 2003 Ordinance was enacted, the original developer owned a majority of
        the land comprising the PID.
34.     Defendant TF Hunters Crossing is a Delaware limited partnership with its principal place
        of business in Miami, Florida.

35.     In February 2018, TF Hunters Crossing executed a contract with the original PID
        developer, Sabine/Forestar.

36.     Pursuant to the TFHC-Sabine/Forestar contract, Sabine/Forestar assigned to TFHC the
        right to receive all PID developer reimbursements under the 2004 Development and
        Reimbursement Agreement with the City.

37.     On February 7, 2018, pursuant to the TFHC-Sabine/Forestar contract, Sabine/Forestar also
        conveyed to TFHC by special warranty deed roughly 38 acres of land in the PID.
38.     In 2005, the original PID developer, Sabine/Forestar, broke ground on PID improvement
        projects.
39.     Neither the City nor the HCLGC has incurred any project costs for capital improvements
        associated with the PID.
40.     The City has never issued bonds in connection with the PID.
41.     The City never issued a time warrant or temporary note to the PID developer to fund the
        construction of capital improvements.
42.     The original developer never borrowed any money from the City to pay for capital
        improvement project costs associated with the PID.
43.     TFHC has never borrowed any money from the City to pay for capital improvement project
        costs associated with the PID.
44.     The City did not, at any time from 2005 through August 2019, update or amend the 2003
        Ordinance, or adopt a new ordinance governing the PID, to include capital improvement
        expenditures incurred or spent by the PID developer from 2005 through 2018
45.     In 2011, the HCLGC commissioned an independent accountant, Singleton, Clark &
        Company, PC (“Singleton”) to perform an Analysis of Developer Costs from July 1, 2007
        to June 30, 2010 (the “Singleton Report”).
46.     When the Singleton Report was issued on July 12, 2011, the original developer had
        completed the majority of all capital improvement projects in the PID.
47.     On September 28, 2017, the City Council reviewed the 2003 service and assessment plan.



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             Case 1:19-cv-01054-RP Document 104 Filed 04/21/21 Page 9 of 86




48.     On September 28, 2017, the City of Bastrop adopted Ordinance No. 2017-26.
49.     On September 25, 2018, the City Council reviewed the 2003 service and assessment plan.
50.     On September 25, 2018, the City of Bastrop adopted Ordinance No. 2018-24.
51.     On September 24, 2019, the City of Bastrop adopted Ordinance No. 2019-40.
52.     As of September 24, 2019, the Bastrop County Tax Assessor collected an aggregate of
        $2,205,097.71 in capital assessment payments from all PID property owners, the entirety
        of which was reimbursed by the City to the Developer pursuant to the 2004 Development
        and Reimbursement Agreement.
53.     From the inception of the PID until September 24, 2019, the Bastrop County Tax Assessor
        collected PID assessments by property ID.
54.     The annual assessment installments were identified as one aggregate sum that included
        both the annual capital assessment installment and the annual operations and maintenance
        (“O&M”) assessment installment.
55.     On August 19, 2019, the City hosted a town hall meeting to review the proposed 2019
        amended and restated service and assessment plan (“2019 SAP”).
56.     At the August 19, 2019 town hall meeting, the City provided PID property owners with a
        four-page pamphlet (the “Town Hall Pamphlet”) explaining the impetus behind the 2019
        Ordinance as well as its contents.
57.     On August 31, 2019, the City published notice in the Bastrop Advertiser of a public hearing
        to be held on September 10, 2019 to consider the 2019 annual review of the service and
        assessment plan.
58.     On September 10, 2019, the City approved the first reading of Ordinance No. 2019-40.
59.     On September 12, 2019, the City published notice in the Bastrop Advertiser of a public
        hearing to be held on September 24, 2019 to consider the annual review of the 2019 annual
        review of the service and assessment plan.
60.     On September 24, 2019, the City of Bastrop adopted Ordinance No. 2019-40.
61.     On September 24, 2019, the City of Bastrop adopted Resolution No. R-2019-86.
62.     The capital improvement costs associated with PID improvement projects have all been
        incurred by TFHC and its predecessor in interest, Sabine/Forestar.




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        Respectfully submitted,


By: /s/ Richard D. Milvenan                By: /s/ George E. Hyde

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By: /s/ Michael J. Whellan

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COUNSEL FOR DEFENDANT
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                EXHIBIT B
                                                                                  Case 1:19-cv-01054-RP Document 104 Filed 04/21/21 Page 12 of 86



                                                                                               SMITH ET AL. v. BASTROP ET AL.
                                                                                         WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                               CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                        JUDGE ROBERT L. PITMAN


                                                                                                    TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                             PLAINTIFFS'   DEFENDANTS'
                                                                         EXHIBIT DESCRIPTION                                       EXHIBIT DATE          BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                            OBJECTIONS    OBJECTIONS




                     P-001         X                                                                                                 9/11/2001    PLAINTIFFS_000159–164


                                                    City of Bastrop Resolution No. R-2001-19

                     P-002         X                                                                                                 11/11/2003   PLAINTIFFS_000242–245
                                                    City of Bastrop Resolution No. R-2003-34

                     P-003         X                                                                                                 12/9/2003    PLAINTIFFS_000174–000220
                                                    City of Bastrop Ordinance No. 2003-35 (Including Attached Exhibits)

                     P-004         X                                                                                                 12/14/2004   PLAINTIFFS_000233–241
                                                    City of Bastrop Ordinance No. 2004-42

                     P-005         X                                                                                                 2/24/2004    PLAINTIFFS_000221–232
                                                    2004 Development and Reimbursement Agreement

                     P-006         X                                                                                                 9/28/2017    COB_00000299–302
                                                    City of Bastrop Ordinance No. 2017-26

                     P-007         X                                                                                                 9/25/2018    COB_00000303–306
                                                    City of Bastrop Ordinance No. 2018-24

                     P-008         X                                                                                                 9/24/2019    PLAINTIFFS_000299–355
                                                    City of Bastrop Resolution No. R-2019-86

                     P-009         X                                                                                                 9/24/2019    COB_00003339–3407
                                                    City of Bastrop Ordinance No. 2019-40 (Including Attached Exhibits)

Trial Exhibit List
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                                                                                              SMITH ET AL. v. BASTROP ET AL.
                                                                                        WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                              CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                       JUDGE ROBERT L. PITMAN


                                                                                                  TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                             PLAINTIFFS'   DEFENDANTS'
                                                                         EXHIBIT DESCRIPTION                                     EXHIBIT DATE            BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                            OBJECTIONS    OBJECTIONS


                     P-010         X                Hunters Crossing Local Government Corporation Meeting Minutes and              9/23/2013    COB_00011088–93
                                                    Notice from September 23, 2013 Meeting

                     P-011         X                Hunters Crossing Local Government Corporation Meeting Minutes and              9/10/2014    COB_00004036–38
                                                    Notice from September 10, 2014 Meeting

                     P-012         X                Hunters Crossing Local Government Corporation Meeting Minutes and              9/24/2014    COB_00004039–42
                                                    Notice from September 24, 2014 Meeting

                     P-013         X                Hunters Crossing Local Government Corporation Meeting Minutes and              8/17/2015    COB_00004046–49
                                                    Notice from August 17, 2015 Meeting


                     P-014         X                                                                                               9/23/2015    COB_00004050–53
                                                    Hunters Crossing Local Government Corporation Meeting Minutes and
                                                    Notice from September 23, 2015 Meeting


                     P-015         X                                                                                               9/28/2016    COB_00004065–71
                                                    Hunters Crossing Local Government Corporation Meeting Minutes and
                                                    Notice from September 28, 2016 Meeting

                     P-016         X                                                                                               3/23/2004    Defendants' MSJ Exhibit 10
                                                    Hunters Crossing Local Government Corporation Articles of Incorporation

                     P-017         X                                                                                                7/5/2011    COB_00003801–815
                                                    Hunters Crossing Local Government Corporation First Amended Bylaws

                     P-018         X                                                                                               7/12/2011    COB_00008106–8119
                                                    Singleton Clark & Company Analysis of Developer Costs


Trial Exhibit List
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                                                                                              SMITH ET AL. v. BASTROP ET AL.
                                                                                        WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                              CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                        JUDGE ROBERT L. PITMAN


                                                                                                   TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                         PLAINTIFFS'   DEFENDANTS'
                                                                         EXHIBIT DESCRIPTION                                    EXHIBIT DATE           BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                        OBJECTIONS    OBJECTIONS


                     P-019         X                                                                                              9/19/2019     PLAINTIFFS_000248–251
                                                    August 19, 2019 Town Hall Meeting Pamphlet

                     P-020         X                                                                                              9/10/2019     TFHC_001925–32
                                                    City of Bastrop City Council Meeting Minutes from September 10, 2019

                     P-021         X                                                                                              12/23/2015    COB_00000290–296
                                                    LIRTEX Special Warranty Deed

                     P-022         X                                                                                              11/16/2017    TFHC_088859–60
                                                    The Village at Hunters Crossing Special Warranty Deed

                     P-023         X                                                                                              5/15/2015     PLAINTIFFS_000032–40
                                                    Howard Schain Special Warranty Deed

                     P-024         X                                                                                              12/2/2014     PLAINTIFFS_000461–63
                                                    Smith Family Revocable Trust Deed – 2014

                     P-025         X                                                                                              7/30/2004     PLAINTIFFS_000465 – 66
                                                    Smith Revocable Trust Deed – 2004

                     P-026         X                July 26, 2017 Hunters Crossing Local Government Corporation Meeting           7/26/2017     COB_00022637–54
                                                    Agenda

                     P-027         X                                                                                              7/20/2019     TFHC_000603–607
                                                    Glass & Company Memo

                                                                                                                                  3/26/2018 -
                     P-028         X                Emails between George Hyde and Misty Ventura, Dated March 26, 2018                          COB_00012266–12279
                                                                                                                                   4/20/2018
                                                    through April 20, 2018
Trial Exhibit List
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                                                                                                SMITH ET AL. v. BASTROP ET AL.
                                                                                          WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                                CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                          JUDGE ROBERT L. PITMAN


                                                                                                     TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                                          PLAINTIFFS'   DEFENDANTS'
                                                                          EXHIBIT DESCRIPTION                                       EXHIBIT DATE             BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                                         OBJECTIONS    OBJECTIONS


                     P-029         X                                                                                                  8/14/2020     Plaintiffs' MSJ Exhibit 10
                                                    Expert Report of Plaintiffs’ Expert R. Christopher Anderson

                                                                                                                                                    Plaintiffs' Response to Defendants'
                     P-030         X                                                                                                  10/7/2020
                                                                                                                                                    MSJ Attachment B, Exhibit 1
                                                    Rebuttal Expert Report of Plaintiffs’ Expert R. Christopher Anderson

                                                                                                                                                    Plaintiffs' Response to Defendants'
                     P-031         X                                                                                                  11/6/2020
                                                                                                                                                    MSJ Attachemnt B
                                                    Declaration of Plaintiffs’ Expert R. Christopher Anderson

                     P-032         X                                                                                                  7/12/2018     COB_00012819–12820
                                                    Email from George Hyde to Misty Ventura, Dated July 12, 2018

                     P-033         X                                                                                                  9/19/2019     PLAINTIFFS_000002–03
                                                    Letter from George Hyde to Robert Reetz, Dated September 19, 2019

                     P-034         X                                                                                                  6/12/2019     COB_00015584
                                                    PID Payments Through Tax Year 2018, Dated June 12, 2019

                     P-035         X                Emails Between Tracy Waldron and Joyce Schanhals, Dated March 6, 2019       3/6/2019 - 3/7/2019 COB_00015353–54
                                                    and March 7, 2019

                                                                                                                                      6/23/2017 -
                     P-036         X                Emails Between Tracy Waldron and Jean Riemenschneider, Dated June 23,                           COB_00015277–79
                                                                                                                                       6/26/2017
                                                    2017 through June 26, 2017

                     P-037         X                Letter and Invoice Sent from Tracy Waldron to MacDonald & Associates,              6/9/2017     TFHC_028597–98
                                                    Inc., Dated June 9, 2017

                                                                                                                                      3/27/2018 -
                     P-038         X                Emails Between Misty Ventura and MacDonald & Associates, Inc., Dated                            TFHC_028685–87
                                                                                                                                       3/28/2018
                                                    March 27, 2018 through March 28, 2018
Trial Exhibit List
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                                                                                             SMITH ET AL. v. BASTROP ET AL.
                                                                                       WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                             CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                      JUDGE ROBERT L. PITMAN


                                                                                                 TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                      PLAINTIFFS'   DEFENDANTS'
                                                                        EXHIBIT DESCRIPTION                                      EXHIBIT DATE           BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                     OBJECTIONS    OBJECTIONS


                     P-039         X                                                                                                             COB_00000021–30
                                                    2013 Question and Answer by City Council Member Ken Kesselus

                     P-040         X                Hunters Crossing Public Improvement District Improvement Completion            10/23/2017    COB_00012234
                                                    Dates

                     P-041         X                                                                                                2/1/2018     TFHC_017085–017363
                                                    Agreement of Purchase and Sale between Forestar and TFHC

                     P-042         X                                                                                                2/8/2018     TFHC_000007–54
                                                    TFHC Special Warranty Deed

                     P-043         X                TFHC Assignment of Public Improvements District Development and                 2/8/2018     TFHC_000001–06
                                                    Reimbursement Agreement

                                                                                                                                   3/26/2018 -
                     P-044         X                Emails between Misty Ventura and George Hyde, Dated March 26, 2018                           TFHC_017770–83
                                                                                                                                    5/15/2018
                                                    through May 15, 2018

                                                                                                                                   2/23/2018 -
                     P-045         X                Emails between Misty Ventura and Robert Reetz, Dated February 23, 2018                       TFHC_028702–709
                                                                                                                                    5/16/2018
                                                    through May 16, 2018

                     P-046         X                Emails between Misty Ventura and George Hyde, Dated September 9, 2018 9/9/2018 - 9/10/2018 TFHC_018596–98
                                                    through September 10, 2018

                     P-047         X                Emails Between Misty Ventura and George Hyde, Dated September 9,         9/9/2018 - 9/10/2018 COB_00016110–112
                                                    2018 through September 10, 2018

                     P-048         X                                                                                                2/1/2019     TFHC_019094–95
                                                    Email from George Hyde to Misty Ventura, Dated February 1, 2019
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                                                                                              SMITH ET AL. v. BASTROP ET AL.
                                                                                        WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                              CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                      JUDGE ROBERT L. PITMAN


                                                                                                     TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                                      PLAINTIFFS'   DEFENDANTS'
                                                                         EXHIBIT DESCRIPTION                                    EXHIBIT DATE             BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                                     OBJECTIONS    OBJECTIONS


                     P-049         X                                                                                               2/5/2019     TFHC_019210–214
                                                    Emails between George Hyde and Misty Ventura, Dated February 5, 2019

                                                                                                                                  9/4/2019 -
                     P-050         X                Emails between Misty Ventura, George Hyde, Tracy Waldron, and Roxanne                       TFHC_023806–810
                                                                                                                                   9/6/2019
                                                    Sheehan, Dated September 4, 2019 through September 6, 2019

                     P-051         X                                                                                              9/18/2019     COB_00015605–613
                                                    Letter from Robert Reetz to Tracy Waldron, Dated September 18, 2019

                     P-052         X                Letter from Robert Reetz to Lynda Humble and Connie Schroeder, Dated          10/23/2019    TFHC_027902–06
                                                    October 23, 2019

                                                                                                                                                Plaintiffs' Response to Defendants'
                     P-053         X                                                                                              10/25/2019
                                                                                                                                                MSJ Exhibit 38
                                                    Email from George Hyde to Robert Reetz, Dated October 25, 2019

                                                                                                                                 10/30/2019 -   Plaintiffs' Response to Defendants'
                     P-054         X                Emails between George Hyde and Raymond White, Dated October 30,
                                                                                                                                  10/31/2019    MSJ Exhibit 39
                                                    2019 to October 31, 2019

                     P-055         X                                                                                              11/11/2003    PLAINTIFFS_000165–173
                                                    City of Bastrop Resolution No. R-2003-36

                     P-056         X                2019 Amended and Restated Development and Reimbursement                       9/25/2019     PLAINTIFFS_000302–355
                                                    Agreement

                     P-057         X                                                                                              10/25/2003    COB_00000212–215
                                                    City of Bastrop Resolution No. R-2003-34

                     P-058         X                                                                                              3/25/2020     COB_00003503
                                                    Bastrop County Tax Office 2019 Receipt for VHC
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                                                                                                 SMITH ET AL. v. BASTROP ET AL.
                                                                                           WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                                 CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                           JUDGE ROBERT L. PITMAN


                                                                                                      TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                                           PLAINTIFFS'   DEFENDANTS'
                                                                          EXHIBIT DESCRIPTION                                        EXHIBIT DATE             BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                                          OBJECTIONS    OBJECTIONS


                     P-059         X                                                                                                    5/8/2012     COB_00008352–8365
                                                    Hunters Crossing Local Government Corporation Second Amended Bylaws

                     P-060         X                                                                                                    8/6/2018     COB00025149–157
                                                    Letter from George Hyde to Misty Ventura, Dated August 6, 2018

                     P-061         X                                                                                                   7/18/2001     TFHC_000674–95
                                                    Hunters Crossing PID No. 1 Plan

                                                                                                                                       7/23/2019 -
                     P-062         X                Emails between George Hyde and Misty Ventura, Dated July 23, 2019                                TFHC_008656–58
                                                                                                                                        7/31/2019
                                                    through July 31, 2019

                     P-063         X                Emails between George Hyde, Misty Ventura, Roxanne Sheehan and Larry               7/31/2019     TFHC_ 008642–43
                                                    Dodson, Dated July 31, 2019

                     P-064         X                                                                                                   10/9/2020     Plaintiffs' MSJ Exhibit B
                                                    Declaration of Robert Reetz, Dated October 9, 2020

                                                                                                                                                     Plaintiffs' Response to Defendants'
                     P-065         X                                                                                                   11/9/2020
                                                                                                                                                     MSJ Attachment E
                                                    Declaration of Robert Reetz, Dated November 9, 2020

                     P-066         X                City of Bastrop Defendants’ Answers to Plaintiff The Village at Hunters             5/1/2020
                                                    Crossing, LLC’s Interrogatories and Requests for Admission

                     P-067         X                City of Bastrop Defendants’ Answers to Plaintiff Carolyn Smith’s                    5/1/2020
                                                    Interrogatories and Requests for Admission

                     P-068         X                City of Bastrop Defendants’ Answers to Plaintiff Lirtex Properties, LLC’s           5/1/2020
                                                    Interrogatories and Requests for Admission
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                                                                                                 SMITH ET AL. v. BASTROP ET AL.
                                                                                           WESTERN DISTRICT OF TEXAS (AUSTIN DIVISION)
                                                                                                 CIVIL ACTION NO.: 1:19-cv-01054

                                                                                                           JUDGE ROBERT L. PITMAN


                                                                                                      TRIAL EXHIBIT LIST

                      EXHIBIT   EXPECT TO    MAY                                                                                                                          PLAINTIFFS'   DEFENDANTS'
                                                                           EXHIBIT DESCRIPTION                                        EXHIBIT DATE          BATES RANGE
                        NO.       OFFER     OFFER                                                                                                                         OBJECTIONS    OBJECTIONS


                     P-069         X                TF Hunters Crossing, LP’s Answers to Plaintiff The Village at Hunters                5/1/2020
                                                    Crossing, LLC’s Interrogatories and Requests for Admission

                     P-070         X                TF Hunters Crossing, LP’s Answers to Plaintiff Carolyn Smith’s                       5/1/2020
                                                    Interrogatories and Requests for Admission

                     P-071         X                TF Hunters Crossing, LP’s Answers to Plaintiff Lirtex Properties, LLC’s              5/1/2020
                                                    Interrogatories and Requests for Admission

                     P-072         X                                                                                                    7/23/2019    COB_00016175–78
                                                    July 11th Meeting Agreement of the Parties

                     P-073         X                                                                                                     2/6/2019    COB_00013175
                                                    Comparison of Assessments Between Original and Amended Ordinances

                     P-074         X                Emails between George Hyde, Misty Ventura, Roxanne Sheehan, and Tracy                2/6/2019    COB_00013169–71
                                                    Waldron, Dated February 6, 2019

                                                                                                                                        7/2/2019 -
                     P-075         X                Emails between George Hyde and Robert Reetz, Dated July 2, 2019
                                                                                                                                         7/3/2019
                                                    through July 3, 2019




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

CAROLYN SMITH, THE VILLAGE AT              §
HUNTERS CROSSING, L.L.C. and               §
LIRTEX PROPERTIES, LLC,                    §
                                           §
           Plaintiffs,                     §
                                           §
v.                                         §
                                           §
THE CITY OF BASTROP, TEXAS,                §
CONNIE SCHROEDER, WILLIE LEWIS §
“BILL” PETERSON, DRUSILLA                  §
ROGERS, LYLE NELSON, BILL ENNIS, §
and DOCK JACKSON, each in his or her       §
official capacity as a member of the City  §
Council of the City of Bastrop, Texas, and §              CIVIL ACTION NO. 1:19-cv-01054
LYNDA HUMBLE, DRUSILLA                     §
ROGERS, RICK WOMBLE, MICHELLE §
DODSON, LYLE NELSON AND                    §
TABITHA PUCEK, each in his or her          §
official capacity as a Director of Hunters §
Crossing Local Government Corporation, §
and TF HUNTERS CROSSING, L.P. as           §
successor-in-interest to FORESTAR (USA) §
REAL ESTATE GROUP, INC.,                   §
                                           §
        Defendants.                        §
                                           §
                                           §


                             PLAINTIFFS’ TRIAL WITNESS LIST
        Pursuant to Local Rule 16(e)(5), Plaintiffs Carolyn Smith, LIRTEX Properties, LLC, and

The Village at Hunters Crossing, LLC (“Plaintiffs”) submit the following trial witness list.

Plaintiffs expect to call at trial the witnesses identified below. Plaintiffs may also call individuals

listed on Defendants’ witness list, as well as individuals necessary for rebuttal.




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     Witness Name           Address           Phone Number     Expect to Present or
                                                                Only if the Need
                                                                     Arises

     Carolyn Smith     116 Outfitter Drive    (512) 417-0508    Plaintiffs expect to
                      Bastrop, Texas 78602                      present this witness


     Carlos Liriano     806 Hwy 71 East       (504) 416-2723    Plaintiffs expect to
                      Bastrop, Texas 78602                      present this witness


    Howard Schain     370 Atlantic Avenue     (917) 453-0461    Plaintiffs expect to
                      Brooklyn, New York                        present this witness
                          11217-1703


     R. Christopher   823 Congress Avenue     (512) 649-2976    Plaintiffs expect to
       Anderson             Suite 300                           present this witness
                       Austin, Texas 78701


     Misty Ventura    9406 Biscayne Blvd.     (214) 328-1101    Plaintiffs will only
      [Adverse]       Dallas, Texas 75218                      call this witness if the
                                                                     need arises


      George Hyde     1633 Williams Drive     (512) 930-1317    Plaintiffs will only
       [Adverse]      Building 2, Suite 200                    call this witness if the
                       Georgetown, Texas                             need arises
                             78628


     Tracy Waldron    1311 Chestnut Street    (512) 332-8820    Plaintiffs will only
       [Adverse]      Bastrop, Texas 78602                     call this witness if the
                                                                     need arises


      Robert Reetz     600 Congress Ave       (512) 495-6062    Plaintiffs will only
                          Suite 2100                           call this witness if the
                      Austin, Texas 78701                            need arises




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

CAROLYN SMITH, THE VILLAGE AT              §
HUNTERS CROSSING, L.L.C. and               §
LIRTEX PROPERTIES, LLC,                    §
                                           §
           Plaintiffs,                     §
                                           §
v.                                         §
                                           §
THE CITY OF BASTROP, TEXAS,                §
CONNIE SCHROEDER, WILLIE LEWIS §
“BILL” PETERSON, DRUSILLA                  §
ROGERS, LYLE NELSON, BILL ENNIS, §
and DOCK JACKSON, each in his or her       §
official capacity as a member of the City  §
Council of the City of Bastrop, Texas, and §                    CIVIL ACTION NO. 1:19-cv-01054
LYNDA HUMBLE, DRUSILLA                     §
ROGERS, RICK WOMBLE, MICHELLE §
DODSON, LYLE NELSON AND                    §
TABITHA PUCEK, each in his or her          §
official capacity as a Director of Hunters §
Crossing Local Government Corporation, §
and TF HUNTERS CROSSING, L.P. as           §
successor-in-interest to FORESTAR (USA) §
REAL ESTATE GROUP, INC.,                   §
                                           §
        Defendants.                        §
                                           §
                                           §



                      FINDINGS OF FACT AND CONCLUSIONS OF LAW
Plaintiffs, three landowners residing within the Hunters Crossing Public Improvement District of
Bastrop, Texas, bring suit against the City Defendants, which includes the City of Bastrop, Texas
(the “City”), the City Council members for the City of Bastrop, 1 and the Directors of Hunters
Crossing Local Government Corporation (“HCLGC”), 2 alleging claims under 42 U.S.C. § 1983.
Plaintiffs contend that by enacting Resolution No. R-2019-86 and Ordinance No. 2019-40, the

1
  The individual members of the City Council are Connie Schroeder, Willie Lewis “Bill” Peterson, Drusilla Rogers,
Lyle Nelson, Bill Ennis, and Dock Jackson.
2
  The individual members of HCLGC are Lynda Humble, Drusilla Rogers, Rick Womble, Michelle Dodson, Lyle
Nelson, and Tabitha Pucek.

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City Defendants violated multiple sections of the Texas Public Improvement District and
Assessment Act (the “PIDA Act”), which deprived Plaintiffs of their substantive and procedural
due process rights under the United States Constitution.
Plaintiffs also bring suit against the Defendant TF Hunters Crossing, LP (“TFHC”) for negligent
misrepresentation, alleging that TFHC negligently represented or omitted information related to
Plaintiffs’ PID assessments.
On May 17, 2021, the Court began a bench trial on this case that concluded on May _, 2021.
Pursuant to Rule 52(a) of the Federal Rules of Civil Procedure, the following findings of fact and
conclusions of law are now made after the conclusion of the bench trial. Any finding of fact that
should be construed as a conclusion of law is hereby adopted as such. Any conclusion of law that
should be construed as a finding of fact is hereby adopted as such.
    I.       BACKGROUND
This is a suit to determine the constitutional validity of Defendant City of Bastrop’s Ordinance
No. 2019-40.
On October 28, 2019, Plaintiffs filed suit against the City, the Individual Defendants, 3 and TFHC,
alleging that the City levied illegal assessments against property owners within a public
improvement district created by the City. Under 42 U.S.C. § 1983, Plaintiffs allege that the City’s
action of increasing their property assessments in contravention of the Texas Public Improvement
District and Assessment Act (“PIDA Act”) deprived them of due process.
Plaintiffs seek (i) a declaration that the 2019 Ordinance is invalid and unenforceable under the
United States Constitution, Texas Constitution and state law; (ii) a declaration that the Individual
Defendants acted ultra vires by seeking to enforce the 2019 Ordinance; (iii) a declaration that
Plaintiffs’ property assessments arising under the PIDA Act are limited to and may not be
increased from an amount calculated by each property owner’s portion of the 2003 assessment of
$7,475,734, less any payments that Plaintiffs’ has made on their individual parcels and less the
proportionate amount that the original developer should have paid in assessments on land it held
from 2003 onward; (iv) a permanent injunction restraining the Individual Defendants from
implementing or enforcing the 2019 Ordinance; (v) a judgment for negligent misrepresentation
against TFHC; and (vi) reasonable and necessary attorneys’ fees and costs of court.
On July 15, 2020, United States Magistrate Judge Susan Hightower issued a Report and
recommendation in which she recommended that Forestar (USA) Real Estate Group, Inc.
(“Forestar” or “the original developer”) be dismissed from the case. Dkt. 42.
On September 2, 2020, the Court entered an order adopting Judge Hightower’s Report and
Recommendation dismissing Forestar from the case. Dkt. 54.




3
 The Individual Defendants are the City Council members for the City of Bastrop and the Directors of Hunters
Crossing Local Government Corporation.

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On October 5, 2020, Plaintiffs filed a Motion to Exclude Defendants’ Expert Julie Fort, Dkt. 61,
and a Motion to Exclude Defendants’ Expert Patrick Bourne, Dkt. 62.
On October 9, 2020, Plaintiffs filed a Motion for Partial Summary Judgement. Dkt. 64.
On October 23, 2020, Defendants filed a Motion to Strike Declaration and Testimony of Raymond
White. Dkt. 70.
On October 26, 2020, Defendants filed a Joint Response to Plaintiffs’ Motion for Partial Summary
Judgment and a Cross-Motion for Summary Judgment on Plaintiffs’ claims. Dkt. 71.
On November 9, 2020, Plaintiffs filed a Reply in Support of their Motion for Partial Summary
Judgment and Response to Defendants’ Cross-Motion for Summary Judgment. Dkt. 75.
On November 16, 2020, Defendants filed a Reply to Plaintiffs’ Response to Defendants’ Cross-
Motion for Summary Judgment. Dkt. 77.
On January 15, 2021, United States Magistrate Judge Susan Hightower issued an Order in which
she granted in part and denied in part Plaintiffs’ Motion to Exclude Defendants’ Expert Julie Fort.
Dkt. 85. Specifically, Judge Hightower denied Plaintiffs’ Motion as to Fort’s opinions regarding
common practices of PIDs listed at page 6 of the Order, and granted Plaintiffs’ Motion and
excluded the remainder of Fort’s report and proposed testimony. Dkt. 85 at 6, 15. In the same
Order, Judge Hightower granted in part and denied in part Plaintiffs’ Motion to Exclude
Defendants’ Expert Patrick Bourne. Dkt. 85. Specifically, Judge Hightower granted Plaintiffs’
Motion and excluded Section II of Bourne’s report and proposed testimony, and denied the
remainder of Plaintiffs’ Motion. Dkt. 85 at 15.
On January 26, 2021, United States Magistrate Judge Susan Hightower issued an Order, Report
and Recommendation on Plaintiff’s Motion for Partial Summary Judgment, Dkt. 64, Defendants’
Motion to Strike the Declaration and Testimony of Raymond White, Dkt. 70, and Defendants’
Joint Response and Cross-Motion for Summary Judgment, Dkt. 71. Dkt. 86.
In the Order, Judge Hightower granted Defendants’ Motion to Strike the Declaration and
Testimony of Raymond White. Dkt. 86 at 5.
In the Report and Recommendation, Judge Hightower recommended that the Court deny Plaintiffs’
Motion for Partial Summary Judgment and grant in part and deny in part Defendants’ Cross-
Motion for Summary Judgment. Dkt. 86 at 17. Specifically, Judge Hightower recommended that
the Court grant Defendants’ Cross-Motion only to the extent that Count 1 of Plaintiffs’ live
Complaint, Dkt. 55, “requests a declaration that City of Bastrop Ordinance No. 2019-40 is invalid
because it violates due process requirements relating to the right to (i) exclude interest from the
principal assessment or (ii) payoff assessments,” and otherwise denied the Motion. Dkt. 86 at 17.
On February 8, 2021, Plaintiffs filed an Objection to Report and Recommendation of United States
Magistrate Judge. Dkt. 89.
On February 8, 2021, Defendants filed an Objection to Report and Recommendation of United
States Magistrate Judge. Dkt. 90.

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On March 5, 2021, Plaintiffs filed a Response to Defendants’ Objection to Report and
Recommendation of United States Magistrate Judge. Dkt. 93.
On March 5, 2021, Defendants filed a Response to Plaintiffs’ Objection to Report and
Recommendation of United States Magistrate Judge. Dkt. 92.
On March 9, 2021, Plaintiffs filed a Reply to Defendants’ Response to Plaintiffs’ Objection to
Report and Recommendation of United States Magistrate Judge. Dkt. 96.
On March 16, 2021, the Court entered an Order adopting Judge Hightower’s Report and
Recommendation with additional clarification in the Order. Dkt. 99.
     II.       JURISDICTION AND VENUE
This Court has jurisdiction over this suit because this suit arises under the United States
Constitution and presents a federal question within this Court’s jurisdiction under Article III of the
Constitution and 28 U.S.C. §§ 1331 and 1343(a)(3). This suit is brought in relevant part pursuant
to 42 U.S.C. § 1983. The claims that do not present a federal question in this lawsuit are
intrinsically related to the federal claims and are a part of the same case or controversy, and are
therefore appropriate for supplemental jurisdiction under 28 U.S.C. § 1367(a).
This Court has authority to grant declaratory relief pursuant to 28 U.S.C. §§ 2201(a) and 2202,
and injunctive relief pursuant to Federal Rule of Civil Procedure 65.
Venue in the Western District of Texas is proper under 27 U.S.C. § 1391(b)(1) because Bastrop
County, Texas is within the district and is where many or all of the natural person defendants, as
well as the City, reside. Venue is also proper in this district under 27 U.S.C. § 1391(b)(2) because
a substantial part of the events or omissions giving rise to this claim occurred in the City of Bastrop,
which is within the Western District.


     III.      FINDINGS OF FACT
THE HUNTERS CROSSING PUBLIC IMPROVEMENT DISTRICT
1.          On September 11, 2001, the City of Bastrop (the “City”) approved Resolution No. R-2001-
            19, which authorized the establishment of the Hunters Crossing Public Improvement
            District (the “PID”) pursuant to TEX. LOC. GOV’T CODE §§ 372.001–372.030 (the “PIDA
            Act”). Exhibit P-001.
2.          The PID was established to finance public improvements on roughly 283 acres of land
            within the City’s territorial jurisdiction. Exhibit P-001.
3.          Pursuant to Resolution No. R-2001-19, the City estimated that the total cost of
            improvements would equal $14.5 million. Exhibit P-001.
4.          On November 11, 2003, the City approved Resolution No. R-2003-34, which amended
            Resolution No. R-2001-19 and revised the estimated costs of capital improvements from
            $14.5 million to $7.476 million. Exhibit P-002.

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5.      Resolution No. R-2003-34 called for the preparation of a service and assessment plan.
        Exhibit P-002.
6.      On November 11, 2003, the City approved Resolution No. R-2003-36, which directed the
        filing of the proposed assessment roll for the PID with the City Secretary of the City and
        directed publication of a public hearing to consider the proposed assessments. Exhibit P-
        055.
7.      On November 13, 2003, the City published notice in the Bastrop Advertiser of a public
        hearing to be held on November 25, 2003 regarding Ordinance No. 2003-35. Stipulated
        Fact 4.
8.      On November 25, 2003, the City Council approved the first reading of Ordinance No.
        2003-35. Stipulated Fact 5.
THE 2003 ORDINANCE
9.      On December 9, 2003, the City passed Ordinance No. 2003-35 (the “2003 Ordinance”).
        Exhibit P-003.
10.     The 2003 Ordinance approved the 2003 service and assessment plan (“SAP”) and levied
        the capital assessments against “the respective parcels of property within the PID and
        against the owners thereof[.]” Exhibit P-003.
11.     The 2003 Ordinance identified various parcels then-existing in the PID and classified them
        as either “commercial,” “multifamily,” “single-family,” “park & trails,” or “right of way”
        properties. Exhibit P-003.
12.     Under the 2003 Ordinance, the “park & trails” and “right of way” properties were exempted
        from paying capital assessments. Exhibit P-003.
13.     The 2003 Ordinance apportioned the capital assessments on a parcel-by-parcel basis using
        per square foot formulas for commercial and multifamily parcels, and a per-lot fixed sum
        for single-family properties. Exhibit P-003.
14.     The 2003 Ordinance’s approved capital assessments included unique amounts for both
        principal and interest. Exhibit P-003.
15.     The principal component of the 2003 Ordinance’s capital assessments was the total
        estimated costs of the planned capital improvements “based on [the] Engineer’s Opinion
        of Probable Costs.” Exhibit P-003.
16.     Specifically, the 2003 Ordinance assessed $7.475 million in estimated capital improvement
        costs (i.e. principal). Exhibit P-003.
17.     The interest component of the 2003 Ordinance was an estimate of the total interest that
        would be paid by the original PID developer to finance the costs of the capital
        improvements. Exhibit P-003.



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18.     The interest component of the 2003 Ordinance was calculated as “6% interest for average
        term of 10 years” on the total projected costs of the capital improvements. Exhibit P-003.
19.     The 2003 Ordinance estimated that the PID developer would incur $4.485 million in
        interest costs. Exhibit P-003.
20.     The $4.485 million in estimated capital interest referenced in the 2003 Ordinance was
        calculated using a 6% simple interest rate on the total capital improvement costs over a 10-
        year period. Exhibit P-003.
21.     The 2003 Ordinance states that the $4.485 million in estimated capital interest “is an
        estimate based on interest being calculated and collected on actual PID approved
        reimbursement costs. Costs will be collected over a 25-year period per owner as properties
        are transferred from Developer to new owner.” Exhibit P-003.
22.     Therefore, the $4.485 million in estimated capital interest referenced in the 2003 Ordinance
        was calculated under the assumption that the PID developer borrowed the entire projected
        costs of the capital improvements (i.e. $7.475 million) on the day the 2003 Ordinance took
        effect. Exhibit P-003.
23.     Under Exhibit C to the 2003 Ordinance, the total “principal only” capital assessment
        payments on commercial properties were calculated by multiplying the number of square
        feet comprising a given parcel by $0.094. Exhibit P-003.
24.     Under the 2003 Ordinance’s SAP, the annual capital assessment payments on commercial
        properties were calculated by multiplying the number of square feet comprising a given
        parcel by $0.058. Exhibit P-003.
25.     Under Exhibit C to the 2003 Ordinance, the annual capital assessment payments on
        commercial properties were calculated by multiplying the number of square feet
        comprising a given parcel by $0.071. Exhibit P-003.
26.     Under Exhibit C to the 2003 Ordinance, the total “principal only” capital assessment
        payments on multifamily properties were calculated by multiplying the number of square
        feet comprising a given parcel by $0.871. Exhibit P-003.
27.     Under the 2003 Ordinance’s SAP, the annual capital assessment payments on multifamily
        properties were calculated by multiplying the number of square feet comprising a given
        parcel by $0.056. Exhibit P-003.
28.     Under Exhibit C to the 2003 Ordinance, the annual capital assessment payments on
        multifamily properties were calculated by multiplying the number of square feet
        comprising a given parcel by $0.068. Exhibit P-003.
29.     Under Exhibit C to the 2003 Ordinance, the capital assessments on single-family properties
        were set at a fixed per-lot rate of $6,192 for principal costs, and $2,607 in estimated interest.
        Exhibit P-003.



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30.     Under Exhibit C to the 2003 Ordinance, annual capital assessment payments on single-
        family properties started at $200 per year and increased annually starting in 2009 to $212
        per year and up to $641 per year in 2027. Exhibit P-003.
31.     The 2003 Ordinance scheduled payments of the capital assessments on all PID properties
        through 2028. Exhibit P-003.
32.     On February 2, 2004, the 2003 Ordinance was recorded as document no. 200401641 in the
        real property records of Bastrop County. Stipulated Fact 7.
33.     At the time the 2003 Ordinance was enacted, the original PID developer owned all of the
        properties in the PID except for three properties: (i) “HXC-1 (Home Depot Lot 1) (property
        ID no. 90301); (ii) HXC-1 (Chilis Lot 1) (property ID no. 92325); and (iii) HXC-1 (Balance
        of Retail Lot 2) (property ID no. 95379). Stipulated Fact 8.
THE 2004 DEVELOPMENT AND REIMBURSEMENT AGREEMENT
34.     On February 24, 2004, the original PID developer, Sabine Investment Company (“Sabine”)
        entered into a Development and Reimbursement Agreement with the City. Exhibit P-005.
35.     Section 4.01 of the Development and Reimbursement Agreement provides: “the City
        covenants and agrees to levy annual Assessments on property in the PID in accordance
        with the Service Plan, as the same may be amended from time to time by the [Hunters
        Crossing Local Government] Corporation with approval of the City.” Exhibit P-005.
36.     Section 4.04 of the Development and Reimbursement Agreement states:
               Promptly, upon acceptance by the City of the public improvements
               constructed by Developer as part of the Project, the City agrees to reimburse
               Developer for such Project Costs paid by Developer, together with interest
               as provided . . . below, solely from funds actually received by the City from:
               (a) the Assessments; and/or (b) the net proceeds of PID Bonds in accordance
               with the terms hereof.
        Exhibit P-005.
37.     Section 4.04 of the Development and Reimbursement Agreement also provides a method
        of calculating the interest owed to the developer on unpaid capital assessments:
               Interest Rate. The outstanding amounts due to Developer pursuant to this
               Agreement shall bear interest on the unpaid principal amount thereof
               outstanding from time to time at the Prime Rate plus two percent per annum.
               Interest will accrue from the date of each borrowing to pay Project Costs.
               As used herein “Prime Rate” means the per annum interest rate as published
               in the Wall Street Journal.
        Exhibit P-005 (emphasis added).



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38.     The interest rate stated in the Development and Reimbursement Agreement plainly
        contemplates that interest only accrues when the developer borrows money to pay for the
        costs of constructing the capital improvements in the PID. Exhibit P-005.
THE 2004 ORDINANCE
39.     On November 11, 2004, the City published notice in the Bastrop Advertiser of a public
        hearing to be held on November 23, 2004, to consider an amendment to the 2003
        Ordinance. Stipulated Fact 10.
40.     On December 14, 2004, the City passed Ordinance No. 2004-42 (the “2004 Ordinance”).
        Exhibit P-004.
41.     The 2004 Ordinance was enacted to correct “scrivener’s and mathematical errors” in the
        2003 Ordinance. Exhibit P-004.
42.     Most importantly, the 2004 Ordinance amended Exhibit C to the 2003 Ordinance by
        changing the amount of “principal only per square foot” for all commercial properties from
        $0.094 to $0.904. Exhibit P-004.
43.     In addition, the 2004 Ordinance amended Exhibit C to the 2003 Ordinance by (i) changing
        tract HXC-1’s total square footage from 255,262 to 1,028,147; (ii) increasing tract HXC-
        1’s “total annual assessment” from $18,126.60 to $72,998.44; and (iii) increasing tract
        HXC-5’s “total annual assessment” from $16,218.34 to $17,938.01. Exhibit P-004.
44.     On December 27, 2004, the 2004 Ordinance was recorded as document no. 200420005 in
        the real property records of Bastrop County. Stipulated Fact 12.
PLAINTIFF CAROLYN SMITH
45.     Plaintiff Carolyn Smith is an individual residing in Bastrop, Texas, acting as Trustee of the
        Smith Family Revocable Trust. Stipulated Fact 13.
46.     Carolyn Smith, acting on behalf of the Smith Family Revocable Trust, purchased her
        residence, a single-family property within the City’s Hunters Crossing Public Improvement
        District, on July 30, 2004. Exhibit P-025.
47.     Carolyn Smith’s purchase contract made no mention of the existence of the PID or the PID
        lien encumbering her single-family property.
48.     Carolyn Smith first discovered the PID assessment encumbering her property when she
        received her first property tax bill, which included the $200 capital improvement
        assessment payment for 2005.
49.     When Carolyn Smith asked the City about the $200 annual capital assessment payment,
        she was given copies of the 2003 and 2004 Ordinances with specific reference to payment
        schedule in Exhibit C.
50.     Carolyn Smith’s residence is identified as property ID no. R95408 in Ordinance No. 2019-
        40 (the “2019 Ordinance”). Stipulated Fact 14.

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PLAINTIFF LIRTEX PROPERTIES, LLC
51.     Plaintiff LIRTEX Properties, LLC (“LIRTEX”) is a Texas limited liability company doing
        business in Bastrop, Texas. Stipulated Fact 15.
52.     LIRTEX owns the real property identified as HXC-2 in the 2003 Ordinance, and property
        ID nos. R114958 and R30102 in the 2019 Ordinance. Stipulated Fact 16.
53.     From 2009 to 2010, property ID no. R114958 totaled 13.738 acres, or 598,427.28 square
        feet.
54.     In 2011, property ID no. R114958 was subdivided into R114958 and R30102.
55.     From 2011 onward, property ID no. R114958 totaled 7.316 acres, or 318,684.96 square
        feet.
56.     From 2011 onward, property ID no. R30102 totaled 6.422 acres, or 279,742.32 square feet.
57.     Using the “principal only per square foot” formula found in Exhibit C to the 2003
        Ordinance (and subsequently amended by the 2004 Ordinance), the total capital assessment
        levied at the inception of the PID on property ID no. R114958 is calculated by multiplying
        the number of square feet comprising property ID no. R114958 (318,684.96) times $0.904.
        Exhibit P-003.
58.     Therefore, the total capital assessment levied at the inception of the PID on property ID no.
        R114958 totaled $252,887.06. Exhibit P-003.
59.     Using the “principal only per square foot” formula found in Exhibit C to the 2003
        Ordinance (and subsequently amended by the 2004 Ordinance), the total capital assessment
        levied at the inception of the PID on property ID no. R30102 is calculated by multiplying
        the number of square feet comprising property ID no. R30102 (279,742.32) times $0.904.
        Exhibit P-003.
60.     Therefore, the total capital assessment levied at the inception of the PID on property ID no.
        R30102 totaled $288,091.20. Exhibit P-003.
61.     LIRTEX purchased property ID nos. R114958 and R30102 on December 23, 2015. Exhibit
        P-021.
62.     Between 2009 and December 23, 2015, Liriano Motors, LLC, leased property ID no.
        R114958 from Dalh-Bastrop, LP. Under the lease, Liriano Motors, LLC, was responsible
        for paying the PID assessments on property ID no. R114958.
63.     Between 2011 and December 23, 2015, Liriano Motors, LLC, leased property ID no.
        R30102 from Dalh-Bastrop, LP. Under the lease, Liriano Motors, LLC was responsible for
        paying the PID assessments on property ID no. R30102.
64.     On December 23, 2015, LIRTEX purchased property ID nos. R114958 and R30102 from
        Dalh-Bastrop, LP. Exhibit P-021.


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65.     Since December 23, 2015, LIRTEX has leased property ID nos. R114958 and R30102 to
        Liriano Motors, LLC.
66.     Property ID nos. R114958 and R30102 are classified as commercial properties. Exhibit P-
        003.
PLAINTIFF THE VILLAGE AT HUNTERS CROSSING, LLC
67.     Plaintiff The Village at Hunters Crossing, LLC (“VHC”) is a Texas limited liability
        company doing business in Bastrop, Texas. Stipulated Fact 17.
68.     VHC owns portions of the real property identified as HXC-5, HXM-1, and HXP-4 in the
        2003 Ordinance, and property ID no. R104899 in the 2019 Ordinance. Stipulated Fact 18.
69.     On May 15, 2015, Howard Schain, the principal of VHC, purchased property ID no.
        R104899 from Forestar (USA) Real Estate Group (“Forestar”), the original PID developer.
        Exhibit P-023.
70.     On November 16, 2017, Howard Schain conveyed his property to VHC by special warranty
        deed. Exhibit P-022.
71.     VHC’s parcel HXC-5 is 2.522 acres, or 109,858.32 square feet, and is classified as a
        commercial property.
72.     VHC’s parcel HXM-1 is 9.000 acres, or 392,040.00 square feet, and is classified as a
        multifamily property.
73.     VHC’s parcel HXP-4 is 1.017 acres, or 44,300.52 square feet, and is classified as Parks &
        Trails.
74.     Together, VHC owns 12.539 acres of land in the PID.
75.     Using the “principal only per square foot” formula found in Exhibit C to the 2003
        Ordinance (and subsequently amended by the 2004 Ordinance), the total capital assessment
        levied at the inception of the PID on VHC’s parcel HXC-5 is calculated by multiplying the
        number of square feet comprising HXC-5 (109,858.32) times $0.904. Exhibit P-003.
76.     Therefore, the total capital assessment levied at the inception of the PID on VHC’s parcel
        HXC-5 totaled $99,311.92. Exhibit P-003.
77.     Using the “principal only per square foot” formula found in Exhibit C to the 2003
        Ordinance (and subsequently amended by the 2004 Ordinance), the total capital assessment
        levied at the inception of the PID on VHC’s parcel HXM-1 is calculated by multiplying
        the number of square feet comprising HXM-1 (392,040.00) times $0.871. Exhibit P-003.
78.     Therefore, the total capital assessment levied at the inception of the PID on VHC’s parcel
        HXM-1 totaled $341,466.84. Exhibit P-003.




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DEFENDANT CITY OF BASTROP
79.     Defendant The City of Bastrop, Texas is a home-rule municipality located in Bastrop
        County, Texas. Stipulated Fact 19.
HUNTERS CROSSING LOCAL DEVELOPMENT CORPORATION
80.     Defendant the Hunters Crossing Local Government Corporation (“HCLGC”) was
        incorporated on March 23, 2004. Stipulated Fact 20.

81.     The HCLGC is a public, nonprofit local government corporation formed pursuant to
        Subchapter D, Chapter 431 of the Texas Transportation Code. See TEX. TRANSPORTATION
        CODE §§ 431.101–431.110; Exhibit P-016.

82.     The HCLGC’s Articles of Incorporation provide that the HCLGC “is organized to
        implement the City-approved Service Plan for the Hunters Crossing Public Improvement
        District established by the City and to perform such other functions from time to time as
        lawfully may be delegated to the Corporation by the City.” Exhibit P-016.
THE INDIVIDUAL DEFENDANTS
83.     Defendant Connie Schroeder is sued in her official capacity as Mayor and Council Member
        of the City of Bastrop. Stipulated Fact 21.

84.     Defendant Willie Lewis “Bill” Peterson is sued in his official capacity as a Council
        Member of the City of Bastrop. Stipulated Fact 22.

85.     Defendant Drusilla Rogers is sued in her official capacity as a Council Member of the City
        of Bastrop and in her official capacity as Director of Hunters Crossing Local Government
        Corporation. Stipulated Fact 23.

86.     Defendant Lyle Nelson is sued in his official capacity as a Council Member of the City of
        Bastrop and in his official capacity as Director of Hunters Crossing Local Government
        Corporation. Stipulated Fact 24.

87.     Bill Ennis is sued in his official capacity as a Council Member of the City of Bastrop.
        Stipulated Fact 25.

88.     Dock Jackson is sued in his official capacity as a Council Member of the City of Bastrop.
        Stipulated Fact 26.

89.     Paul Hoffman is sued in his official capacity as Director of Hunters Crossing Local
        Government Corporation. Stipulated Fact 27.




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90.     Rick Womble is sued in his official capacity as Director of Hunters Crossing Local
        Government Corporation. Stipulated Fact 28.

91.     Michelle Dodson is sued in her official capacity as Director of Hunters Crossing Local
        Government Corporation. Stipulated Fact 29.

92.     Tabitha Pucek is sued in her official capacity as Director of Hunters Crossing Local
        Government Corporation. Stipulated Fact 30.
THE ORIGINAL PID DEVELOPER
93.     At the inception of the PID, the original PID developer was Sabine Investment Company
        (“Sabine”). Stipulated Fact 31.
94.     Sometime in 2005, Sabine changed its name to Forestar (USA) Real Estate Group, Inc.
        (“Forestar”). Stipulated Fact 32.
95.     Until 2013, PID property owners were never publically notified that Sabine had changed
        its name to Forestar. Exhibit P-039.
96.     At the time the 2003 Ordinance was enacted, the original developer owned a majority of
        the land comprising the PID. Stipulated Fact 33.
97.     The original developer did not make capital assessment payments to the City for the
        properties that it owned in the PID. Exhibit P-029; Exhibit P-030.
98.     When the original developer sold PID properties to third-party purchasers, the original
        purchaser’s sale price reflected the capital improvements that it had constructed in the PID.
DEFENDANT TF HUNTERS CROSSING
99.     Defendant TF Hunters Crossing is a Delaware limited partnership with its principal place
        of business in Miami, Florida. Stipulated Fact 34.

100.    In February 2018, TF Hunters Crossing executed a contract with the original PID
        developer, Sabine/Forestar. Stipulated Fact 35; Exhibit P-041.

101.    Pursuant to the TFHC-Sabine/Forestar contract, Sabine/Forestar assigned to TFHC the
        right to receive all PID developer reimbursements under the 2004 Development and
        Reimbursement Agreement with the City. Stipulated Fact 36; Exhibit P-041; Exhibit P-
        0043.

102.    Under the TFHC-Sabine/Forestar contract, TFHC’s purchase price for the right to receive
        PID reimbursements from the City was contingent on the amount of PID reimbursements
        that TFHC could negotiate with the City:




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               If within one (1) year following the Closing Date a legally binding written
               commitment is obtained with respect to the Hunters Crossing PID
               Agreement, whereby the district thereunder agrees to pay to TF Hunters
               Crossing, LP, or its successors or assigns, reimbursements in an amount not
               less than $5,000,000 from and after the effective date of such binding
               written commitment, Buyer shall pay to Seller an amount equal to $900,000
               within 30 days after the effective date of such commitment.

        Exhibit P-041.

103.    On February 7, 2018, pursuant to the TFHC-Sabine/Forestar contract, Sabine/Forestar also
        conveyed to TFHC by special warranty deed roughly 38 acres of land in the PID. Stipulated
        Fact 37; Exhibit P-042.
OPERATION OF THE DISTRICT FROM 2003 TO 2019
104.    In 2005, the original PID developer, Sabine/Forestar, broke ground on PID improvement
        projects. Stipulated Fact 38.
105.    Neither the City nor the HCLGC has incurred any project costs for capital improvements
        associated with the PID. Stipulated Fact 39.
106.    The City has never issued bonds in connection with the PID. Stipulated Fact 40.
107.    The City never issued a time warrant or temporary note to the PID developer to fund the
        construction of capital improvements. Stipulated Fact 41.
108.    Until the original PID developer sold its interest in the PID to TFHC in 2018, the original
        developer never borrowed any money from the City to pay for capital improvement project
        costs associated with the PID. Stipulated Fact 42.
109.    TFHC has never borrowed any money from the City to pay for capital improvement project
        costs associated with the PID. Stipulated Fact 43.
110.    The City did not, at any time from 2005 through August 2019, update or amend the 2003
        Ordinance, or adopt a new ordinance governing the PID, to include capital improvement
        expenditures incurred or spent by the PID developer from 2005 through 2018. Stipulated
        Fact 44; Exhibit P-066.
111.    In 2011, the HCLGC commissioned an independent accountant, Singleton, Clark &
        Company, PC (“Singleton”) to perform an Analysis of Developer Costs from July 1, 2007
        to June 30, 2010 (the “Singleton Report”). Stipulated Fact 45; Exhibit P-018.
112.    The HCLGC tasked Singleton with (i) reviewing the developer’s documentation of specific
        capital improvements constructed in the PID; (ii) identifying capital improvements that
        qualified for reimbursement by the City, and (iii) comparing the 2003 Ordinance’s initial
        assessments against the actual costs of capital improvements in the PID that had been
        incurred by the developer. Exhibit P-018.

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113.    The procedures Singleton used to perform these calculations “were agreed to by the
        management of Hunters Crossing Local Government Corporation and the management of
        Forestar Group, Inc.” Exhibit P-018.
114.    The Singleton Report was issued to the HCLGC and City on July 12, 2011, but was never
        made available to the public or PID property owners. Exhibit P-018.
115.    When the Singleton Report was issued on July 12, 2011, the original developer had
        completed the majority of all capital improvement projects in the PID. Stipulated Fact 46.
116.    The Singleton Report included a chart “compar[ing] the preliminary engineering estimate
        from the City of Bastrop ordinance regarding Hunters Crossing [the 2003 Ordinance] with
        actual costs through June 30, 2010.” Exhibit P-018.
117.    This chart was subsequently used by the City to calculate the capital assessments in the
        2019 Ordinance. Exhibit P-018; Exhibit P-009.
118.    The Singleton Report found that, by June 30, 2010, the original PID developer had incurred
        $13,529,608 in principal capital improvement costs. Exhibit P-018
119.    The Singleton Report subtracted the 20% “developers contribution” from the developer’s
        actual capital expenditures of $13,529,608 and concluded that the developer’s “[c]apital
        recovery amount before interest” totaled $10,823,686. Exhibit P-018.
120.    The Singleton Report therefore concluded that, by June 30, 2010, the developer was
        entitled to $10.824 million in principal capital improvement reimbursements, rather than
        the $7.475 million that was estimated in the 2003 Ordinance. Exhibit P-018.
121.    On top of the $10,823,686 in purported capital recovery, the Singleton Report added
        $6,494,212 in interest, which was “[e]stimated at 60% of Capital Recovery amount before
        interest.” Exhibit P-018.
122.    Specifically, Singleton calculated the $6,494,212 in interest using an “[i]nterest
        capitalization rate of 6% for 10 years,” the same rate that was stated in the 2003 Ordinance.
        Exhibit P-018.
123.    Together, the Singleton Report concluded that, as of June 30, 2010, the developer’s “[t]otal
        net capital recovery amount” equaled $17,317,898. Exhibit P-018.
124.    In calculating the developer’s purported interest costs, the Singleton Report’s methodology
        made three errors.
125.    First, although the Singleton Report claimed to calculate actual interest costs incurred by
        the developer through June 30, 2010, it did not reconcile the 2003 Ordinance’s estimated
        interest calculation against any actual interest paid by the developer in financing the capital
        improvement projects. Exhibit P-029; Exhibit P-030.
126.    The Singleton Report’s methodology reconciled the developer’s actual principal
        improvement costs against the original estimates, but did not reconcile the developer’s

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        actual borrowing costs, which were zero, against the original estimates. Exhibit P-029;
        Exhibit P-030.
127.    According to the Singleton Report, roughly 38% of the “actual” costs incurred by Forestar
        through June 30, 2010 were not actuals and were not reconciled against the original
        estimates in the 2003 Ordinance, despite the fact that the remaining 62% of principal
        improvement costs were reconciled against the original estimates. Exhibit P-029; Exhibit
        P-030.
128.    Second, the Singleton Report’s calculation of the developer’s purported interest costs
        falsely assumed that the developer borrowed the full $10,823,686 in purported capital
        recovery on the day that PID construction projects commenced. Exhibit P-029; Exhibit P-
        030.
129.    Third, the Singleton Report’s calculation of the developer’s purported interest costs
        incorrectly applied the interest capitalization rate of 6% for a ten-year period, despite the
        fact that the period in which the developer actually incurred principal capital improvement
        costs was no more than 6 years. Exhibit P-029; Exhibit P-030.
130.    Taken together, this meant that the Singleton Report’s calculations inflated the developer’s
        purported interest costs, and subsequently, the developer’s “[t]otal net capital recovery
        amount.” Exhibit P-018.
131.    The Singleton Report also establishes that, no later than July 12, 2011, the City and
        HCLGC were aware that by June 30, 2010, the original developer had incurred $3,347,899
        more in actual principal improvement costs than was contemplated under the 2003
        Ordinance. Exhibit P-018.
HCLGC REVIEWS THE 2003 SAP
132.    In each year between 2012 and 2016, the HCLGC held board meetings in which it
        purported to review and approve the 2003 service and assessment plan. Exhibit P-010;
        Exhibit P-011; Exhibit P-012; Exhibit P-013; Exhibit P-014; Exhibit P-015.
133.    In each of these years, the HCLGC purported to approve the 2003 capital assessments
        without adjustment, despite the fact that the developer had incurred capital improvement
        costs that far exceeded the 2003 Ordinance’s estimates. Exhibit P-010; Exhibit P-011;
        Exhibit P-012; Exhibit P-013; Exhibit P-014; Exhibit P-015.
134.    The meeting minutes of the September 23, 2013 HCLGC Board Meeting state: “The
        Capital assessment for a single family and commercial current property remains consistent
        and was previously approved through the Services and Assessment Plan prepared in
        November 2003. There is no proposed change to the Service and Assessment Plan.” Exhibit
        P-010.
135.    The meeting minutes of the September 23, 2013 HCLGC Board Meeting also state: “the
        PID expires in 2027/2028 by which time the Developer will have conveyed all of the public


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        improvements to the City and the ongoing operating and maintenance will then be paid for
        and managed by the City.” Exhibit P-010.
136.    The meeting minutes of the September 23, 2013 HCLGC Board Meeting also state: “No
        increase in the capital component of the PID expenditures has ever been requested or
        approved.” Exhibit P-010.
137.    The meeting minutes of the September 23, 2013 HCLGC Board Meeting also state: “The
        City has not been asked to take any action that might extend the life of the PID beyond that
        approved by the City Council and it is uncertain at this time, whether any extension is
        allowed by law, but none has been sought in this case.” Exhibit P-010.
138.    The meeting minutes of the September 23, 2013 HCLGC Board Meeting also state: “As of
        June 30, 2010 the Developer’s current debt (or capital cost) had increased to $17,317,898.
        However, the current Service & Assessment Plan has not been amended nor is an
        amendment proposed for fiscal year 2014.” Exhibit P-010.
139.    Also in 2013, HCLGC board member and Bastrop City Council member Ken Kesselus
        held a Q&A session with PID property owners (“the 2013 Q&A”). Exhibit P-039.
140.    At the 2013 Q&A, in response to questions about PID debt, Mr. Kesselus responded:
               There is no debt to the City. All of the project debt is carried by and owed
               only by the Developer, i.e., Forestar, the successor to Sabine. Accordingly,
               no specifics on debt retirement are available. The capital costs and their
               assessment schedules are available in the Service and Assessment Plan,
               prepared in November 2003. . . . Neither the City nor the PID are paying
               any interest nor do either hold any debt for the PID. Forestar would be the
               only party responsible for paying their debt and the associated interest.
        Exhibit P-039.
141.    The 2013 Q&A was the first time that the City publically notified PID property owners
        that Sabine had changed its name to Forestar. Exhibit P-039.
142.    At the 2013 Q&A, Mr. Kesselus was asked: “If there is debt left at the end of the PID, who
        assumes responsibility for paying the debt?” Mr. Kesselus responded: “Forestar is
        responsible for paying any debt that is left at the end of the PID.” Exhibit P-039.
143.    The meeting minutes of the September 24, 2014 HCLGC Board Meeting reflect that a
        board member “moved to approve the Hunters Crossing Local Government Resolution
        approving and adopting the annual budget for Fiscal Year 2015, providing reimbursement
        for historical Capital expenditures[.]” Exhibit P-012.
144.    The meeting minutes from the August 17, 2015 HCLGC Board Meeting state: “the City
        cannot control the Capital fund because it is set by the service agreement, the only control
        the City has is on the O&M side.” Exhibit P-013.



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145.    The July 26, 2017 HCLGC Meeting Agenda includes an internal HCLGC financial
        summary through June 30, 2017. Exhibit P-026.
146.    The internal HCLGC financial summary dated June 30, 2017 states that for FY 2016-2017
        and FY 2017-2018, the City assessed capital costs on commercial properties at $0.071 per
        square foot, which is consistent with Exhibit C to the 2003 Ordinance. Exhibit P-026.
147.    The June 30, 2017 internal HCLGC financial summary states that for FY 2016-2017 and
        FY 2017-2018, the City assessed capital costs on multifamily properties at $0.068 per
        square foot, which is consistent with Exhibit C to the 2003 Ordinance. Exhibit P-026.
148.    The June 30, 2017 internal HCLGC financial summary states that for FY 2016-2017 and
        FY 2017-2018, the City assessed capital costs on single family properties at $338.00 per
        lot, which is consistent with Exhibit C to the 2003 Ordinance. Exhibit P-026; Exhibit P-
        003.
149.    Exhibit C to the 2003 Ordinance lists $338 as the annual capital assessment payment for
        single family properties in 2017, an amount that includes both the principal amount of the
        capital improvement costs as well as the estimated 6% interest rate. Exhibit P-003.
150.    The June 30, 2017 internal HCLGC financial summary states that for FY 2016-2017, the
        annual budget for total capital improvement funds received equals $280,747.00. Exhibit P-
        026.
151.    The June 30, 2017 internal HCLGC financial summary states that for FY 2017-2018, the
        proposed annual budget for total capital improvement funds received equals $295,585.00.
        Exhibit P-026.
THE CITY COUNCIL BEGINS TO CONDUCT THE ANNUAL REVIEW OF THE SAP
IN THE FALL OF 2017
152.    On September 28, 2017, the City Council reviewed the 2003 service and assessment plan
        for the first time since 2004. Exhibit P-006.
153.    Pursuant to Ordinance No. 2017-26, the City Council approved the capital assessments
        component of the SAP. Exhibit P-006.
154.    Ordinance No. 2017-26 states that “[t]he City Council of the City of Bastrop hereby finds
        that the capital assessment roll as included in Exhibit A attached hereto and incorporated
        in this Ordinance, which relates solely to the original historic capital costs, continues to be
        correct as set forth in the original Service Plan and should not be changed, and the City
        Council approves Exhibit A as the Fiscal Year 2018 capital assessment roll of the Hunters
        Crossing PID.” Exhibit P-006.
155.    Therefore, while Ordinance No. 2017-26 approved the capital assessments component of
        the 2003 SAP, the City Council did not adjust the capital assessments to incorporate the
        original developer’s overrun capital improvement expenditures. Exhibit P-006.



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156.    Ordinance No. 2017-26 was the first time that the City Council had approved the 2003
        SAP’s capital assessments component since 2004. Exhibit P-006.
157.    On September 25, 2018, the City Council reviewed the 2003 service and assessment plan.
        Exhibit P-007.
158.    Pursuant to Ordinance No. 2018-24, the City Council approved the capital assessments
        component of the 2003 SAP. Exhibit P-007.
159.    Ordinance No. 2018-24 states that “[t]he City Council of the City of Bastrop hereby finds
        that the capital assessment roll as included in Exhibit A attached hereto and incorporated
        in this Ordinance, which relates solely to the original historic capital costs, continues to be
        correct as set forth in the original Service Plan and should not be changed, and the City
        Council approves Exhibit A as the Fiscal Year 2019 capital assessment roll of the Hunters
        Crossing PID.” Exhibit P-007.
160.    Therefore, while Ordinance No. 2018-24 approved the capital assessments component of
        the 2003 SAP, the City Council did not adjust the capital assessments to incorporate the
        original developer’s overrun capital improvement expenditures. Exhibit P-007.
TF HUNTERS CROSSING PURCHASES SABINE/FORESTAR’S INTEREST IN THE
PID AND WORKS WITH THE CITY TO REVISE THE 2003 SAP
161.    In February 2018, the original developer (Sabine/Forestar) sold to Defendant TFHC (i) its
        interests in PID reimbursements for $900,000, so long as TFHC was able to successfully
        negotiate with the City a commitment for $5 million or more in capital reimbursements;
        and (ii) roughly 38 acres of undeveloped land situated in the PID. Exhibit P-041; Exhibit
        P-042; Exhibit P-043.
162.    Soon after TFHC purchased its interest in capital PID reimbursements, TFHC began to
        work with the City on a “proposed reconciliation” of the PID.
163.    In March 27, 2018, in an email exchange between, TFHC’s non-litigation counsel, Misty
        Ventura, and VHC’s non-litigation counsel, Robert Reetz, Ms. Ventura told Mr. Reetz that
        TFHC had “finally sorted through the bulk of the PID documents and we are close to
        finalizing an assessment role (sic.) that confirms for all owners amounts levied, amounts
        paid and amounts owed for capital assessments.” Exhibit P-045.
164.    In the March 27, 2018 email exchange, Ms. Ventura also indicated that (i) the total capital
        assessments levied under the 2003 Ordinance against VHC’s property ID no. 104899
        equaled $354,859.93; (ii) the capital assessment payments already completed on VHC’s
        property ID no. 104899 equaled $55,408.67; and (iii) the total remaining capital assessment
        payments owed under the 2003 Ordinance against VHC’s property ID no. 104899 equaled
        $299,451.26. Exhibit P-045.
165.    In the March 27, 2018 email exchange, Ms. Ventura also indicated that, in calculating
        VHC’s capital assessments, she applied a 7.85% interest rate. Exhibit P-045.


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166.    In the March 27, 2018 email exchange, when Mr. Reetz asked Ms. Ventura how she arrived
        at a 7.85% interest rate, Ms. Ventura responded: “I backed into the interest based on the
        difference between the amount levied and the installment payments.” Exhibit P-045.
167.    On April 17, 2018, Ms. Ventura sent George Hyde, the City’s counsel, the proposed
        reconciliation, which included a “PID assessment role (sic.) that summarize[d] the
        assessment levied, the amounts collected, and the amounts owed” on the PID. Exhibit P-
        028.
168.    In the April 17, 2018 email to Mr. Hyde, Ms. Ventura stated that “[b]ased on the amounts
        owed and interest from installment payments, I believe TF Hunters Crossing, L.P. is owed
        $11,074,604.74 ($6,203,512.92 PID principal payments from unpaid assessments plus
        $4,871,091.82 interest).” Exhibit P-028.
169.    In the April 17, 2018 email to Mr. Hyde, Ms. Ventura further stated “[w]hen you compare
        the amount levied to the installment payment, it appears an interest rate of 7.85% was
        included with installment payments.” Exhibit P-028.
170.    In response to Ms. Ventura’s April 17, 2018 email, Mr. Hyde expressed concern regarding
        the 7.85% interest rate utilized by TFHC in the “proposed reconciliation”:
               Interest Rate – PID Documentation set an interest rate of prime plus two
               percent. Your footnote appears to apply a linear interest rate of 7.85%, PID
               audit documents reference a linear 5%. We need to resolve this.
        Exhibit P-028.
171.    In response to Ms. Ventura’s April 17, 2018 email, Mr. Hyde also expressed concern
        regarding the assessment trigger put forth by TFHC in the “proposed reconciliation”:
               Assessment Trigger – How do you statutorily reconcile the application of
               the “Assessment Trigger” referenced in footnote 1 in your Capital
               Assessment Roll attachment? (The footnote also does not reflect the
               secondary transfer trigger in the PID documents applicable for residential
               property).
        Exhibit P-028.
172.    In response to Ms. Ventura’s April 17, 2018 email, Mr. Hyde also expressed concern
        regarding the method of apportionment utilized in TFHC’s “proposed reconciliation”:
               As you know, [Texas Local Government Code] § 372.015 governs
               apportionment. . . . Who owns the property in a PID has no impact
               whatsoever to diminish or enhance the benefit of PID improvements to
               property in the PID. Once can easily foresee how such a provision is not
               statutorily compliant. If one were to take the assessment trigger to its
               logical conclusion, the developer of this PID could maintain ownership of
               property in the PID, which is benefited by PID improvements, and be

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               entirely free from any obligation to pay an equal share of the cost., as
               required by Texas law. Furthermore, the prolonged delay disproportionately
               shifts more cost for the PID improvements on property owners who enter
               the PID first, lessening the share of the cost to those who purchase property
               at the end of the PID.
        Exhibit P-028 (emphasis added).
173.    In response to Ms. Ventura’s April 17, 2018 email, Mr. Hyde, Mr. Hyde promised to
        “conduct a comparative analysis and work with [Ms. Ventura] on any issue that we find
        conflict with.” Exhibit P-028.
174.    On July 12, 2018, Mr. Hyde sent another email to Ms. Ventura in which he notified Ms.
        Ventura that the City had engaged an independent certified public accountant to evaluate
        the finances of the PID. Exhibit P-032.
175.    In the July 12, 2018 email, Mr. Hyde told Ms. Ventura that “our final figures are going to
        be several million dollars less than what you proposed.” Exhibit P-032.
176.    In his July 12, 2018 email, Mr. Hyde further advised Ms. Ventura: “I would like you to
        start preparing your client for the realization that the reimbursement value in the project
        may be much different than your calculations. I suggest we should consider an all-day
        mediation . . . to determine whether there is any chance to find compromise[.]” Exhibit P-
        032.
177.    On February 6, 2019, TFHC’s non-litigation counsel, Roxanne Sheehan, sent an email to
        George Hyde that included a chart entitled “Comparison of Assessments Between Original
        and Amended Ordinances.” Exhibit P-074.
178.    For commercial PID properties, the chart indicated that the assessments under the “Original
        Assessments” (i.e. 2003 Ordinance) totaled $1,775,276.64, whereas the “Amended
        Assessments” totaled $2,199,114.74, for a total “Increase in Assessments” of $423,838.10.
        Exhibit P-073.
179.    For multifamily PID properties, the chart indicated that the assessments under the “Original
        Assessments” (i.e. 2003 Ordinance) totaled $485,227.21, whereas the “Amended
        Assessments” totaled $933,129.25, for a total “Increase in Assessments” of $447,902.04.
        Exhibit P-073.
180.    For undeveloped PID properties, the chart indicated that the assessments under the
        “Original Assessments” (i.e. 2003 Ordinance) totaled $0, whereas the “Amended
        Assessments” totaled $2,701,151.74, for a total “Increase in Assessments” of
        $2,701,151.74. Exhibit P-073.
THE GLASS MEMO
181.    On July 20, 2018, Glass & Company, an accounting firm hired by the City, issued a memo
        (the “Glass Memo”) in which it “prepared . . . calculations regarding the amount of

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        reimbursement of capital costs due to the developer of the Hunters Crossing Public
        Improvement District[.]” Exhibit P-027.
182.    The Glass Memo’s calculations were based on the 2003 Ordinance’s “Service and
        Assessment plan (SAP), related resolutions, and the Bastrop Central Appraised District
        records.” Exhibit P-027.
183.    The Glass Memo “calculated the Maximum Net Capital Assessment Available for
        Reimbursement as of the date of this Report [July 20, 2018].” Exhibit P-027.
184.    Based on the 2003 Ordinance, the Glass Memo concluded that “the only source of
        reimbursement for capital costs is the capital assessments levied on the property owners.”
        Exhibit P-027.
185.    The Glass Memo concluded that “[t]he [2003] SAP set forth the assessment rates, which
        have never been amended.” Exhibit P-027.
186.    The Glass Memo concluded that “no bonds have been issued to be used as a source of
        repayment.” Exhibit P-027.
187.    Based on the 2003 Ordinance, the Glass Memo concluded that the PID’s total capital
        assessments equaled $6,136,190.85. Exhibit P-027.
188.    The Glass Memo concluded that “[t]otal capital assessments of $6,136,190.85 are reduced
        by payments that have already been made to the developer for capital reimbursement of
        $1,881,597.71. Exhibit P-027.
189.    Taken together, the Glass Memo concluded that “this produces a Maximum Net Capital
        Assessments Available for Reimbursement of $4,254,593.14,” a sum that reflected “all
        assessments to-date plus future assessments based on actual property that is presently being
        assessed.” Exhibit P-027.
190.    The Glass Memo also “reconciled the developer’s [TFHC] analysis of the amounts owed
        to the developer [$11,074,604.74] to the [$4,254,593.14] available for reimbursement[.]”
        Exhibit P-027.
191.    In performing this reconciliation, the Glass Memo pointed out a number of flaws in
        TFHC’s methodology. Exhibit P-027.
192.    For example, the Glass Memo concluded that “[t]he developer’s calculation of
        $11,074,604.74 represents the total amount owed without consideration of when the
        properties came onboard whereas the $4,248,273.54 represents the actual amount of
        assessments available according to when the properties actually came on board. The
        difference is attributable to the delay in developer’s or builder’s sales.” Exhibit P-027.
193.    According to the Glass Memo, this meant that “the developer’s calculation did not consider
        the timing of when the individual parcels were conveyed and assessments started or that
        the PID’s term of 25 years ends in 2028.” Exhibit P-027.


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194.    The Glass Memo also criticized TFHC’s claim to $4,871,091.82 in interest reimbursement,
        stating that “[t]he assessments already include principal and interest according to the
        [2003] SAP eliminating the need for a separate interest calculation made by the developer.”
        Exhibit P-027.
THE CITY’S COLLECTION OF CAPITAL ASSESSMENTS FROM PID PROPERTY
OWNERS
195.    As of September 24, 2019, the City collected an aggregate of $2,205,097.71 in capital
        assessments from all PID property owners, the entirety of which was paid to the PID
        developer pursuant to the Development and Reimbursement Agreement. Exhibit P-009;
        Stipulated Fact 52..
196.    Section 5 of the 2003 Ordinance provides that “[t]he first annual PID assessments on
        commercial and multifamily property located in the PID shall be due on the last to occur
        of the following two events: (a) the effective date of this Ordinance; or (b) the date that
        ownership of the tract or lot of land located in the PID is transferred from [the original
        developer] Sabine Investments, Inc. The first annual assessments on single-family property
        located in the PID shall be due on the date that the property is transferred to the
        homeowner.” Exhibit P-003.
197.    Pursuant to Section 5 of the 2003 Ordinance, the original developer did not pay annual
        assessments on the properties it owned in the PID. Exhibit P-003; Exhibit P-029.
198.    For each PID property, the triggering event for which corresponding annual PID
        assessment payments began to accrue was the date on which the original developer sold
        that property to a third-party owner. Exhibit P-003.
199.    For example, from the creation of the PID until May 15, 2015, when Forestar sold property
        ID no. R104899 to VHC’s principal Howard Schain, Forestar did not directly pay capital
        assessments on property ID no. R104899. Exhibit P-029.
200.    According to the 2003 Ordinance, from the May 15, 2015 triggering date onward, the total
        remaining capital assessments on property ID no. R104899 reflected the total amount
        levied under the 2003 Ordinance, without consideration of the fact that Forestar had owned
        the parcel for some twelve years. Exhibit P-003; Exhibit P-029.
201.    From the inception of the PID until September 24, 2019, the Bastrop County Tax Assessor
        collected PID assessment payments by property ID, purportedly based on either the 2003
        Ordinance’s flat single-family lot rate or the assessment per square foot calculus for
        commercial or multifamily properties as set forth in the 2003 Ordinance (and amended by
        the 2004 Ordinance). Exhibit P-034; Exhibit P-035; Exhibit P-036.
202.    From the inception of the PID until September 24, 2019, the Bastrop County Tax Assessor
        collected PID assessments by property ID. Stipulated Fact 53.




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203.    However, the annual assessment installments were identified as one aggregate sum that
        included both the annual capital assessment installment and the annual operations and
        maintenance (“O&M”) assessment installment. Stipulated Fact 54.
204.    In other words, for each PID parcel’s annual assessment payment, the Bastrop County Tax
        Assessor did not inform the corresponding PID property owner of the breakdown between
        capital assessment and O&M assessment components of the property owner’s total annual
        assessment.
205.    Prior to the enactment of the 2019 Ordinance, the Bastrop County Tax Assessor did not
        maintain master reports of capital assessment payments by parcel, despite the fact that they
        were made to accounts tied to each distinct property ID. Exhibit P-035.
206.    Therefore, prior to the enactment of the 2019 Ordinance, it was impossible for PID property
        owners (or the public at large) to independently determine the total outstanding amount of
        capital assessment payments on the parcels that they owned.
207.    On June 23, 2017, Jean Riemenschneider, the Economic Development Project Manager of
        the Bastrop Economic Development Corporation, sent an email to the City inquiring how
        she could “find[] out how much is left on the PID contract for Hunters Crossing, and is it
        per site or as a whole development?” Exhibit P-036.
 208. On June 26, 2017, the City’ Chief Financial Officer, Tracy Waldron, responded to Ms.
      Riemenschneider’s inquiry, stating that the “PID documents are vague and unclear . . . so
      in a nut shell, I’m not sure.” Exhibit P-036.
209.    Yet, in the June 26, 2017 email, Ms. Waldron also told Ms. Riemenschneider: “If you ever
        have a potential buyer interested, I can calculate what the assessment would be on any
        parcel.” Exhibit P-036.
210.    Also in June 2017, Ms. Waldron sent an invoice to a new multifamily property owner –
        MacDonald & Associates, Inc. (“MacDonald”) – that “calculate[d] the prorated amount
        due” on MacDonald’s parcel “for 2017.” Exhibit P-037.
211.    Specifically, the invoice showed that the 2017 annual capital assessment payment on
        MacDonald’s property was $35,498, which was calculated by multiplying $0.068 (the per
        square foot rate listed in Exhibit C to the 2003 Ordinance) by 522,023 (the number of
        square feet comprising MacDonald’s property). Exhibit P-037.
212.    The invoice also prorated MacDonald’s 2017 capital assessment payment, meaning that
        MacDonald was only responsible for the portion of the annual capital assessment from
        May 24, 2017 (when MacDonald purchased the property) through December 31, 2017.
        Exhibit P-037.
213.    Between 2017 and 2018, MacDonald sought and received a payoff amount for the total
        remaining capital assessment on its property from Misty Ventura, TFHC’s non-litigation
        counsel. Exhibit P-038.


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214.    On March 27, 2018, Ms. Ventura sent an email to MacDonald in which she calculated that,
        under the 2003 Ordinance, the total capital assessments levied on MacDonald’s property
        equaled $454,682.07. Exhibit P-038.
215.    In the March 27, 2018 email, Ms. Ventura identified a specific amount of capital
        assessment levied for MacDonald’s parcel within the PID (property ID no. R113268) and
        did not state that the capital assessment was levied against the entire 283 acres of the PID.
        Exhibit P-038.
PLAINTIFFS’ CAPITAL ASSESSMENT PAYMENTS
216.    Plaintiff Carolyn Smith acquired her property in 2004 and started paying annual capital
        assessments in 2005.
217.    As of September 24, 2019 (the day the City enacted the 2019 Ordinance), the City collected
        an aggregate of $3,804 in capital assessments from Plaintiff Carolyn Smith. Exhibit P-029.
218.    At the time of trial, the City collected an aggregate of $4,574.83 in capital assessments
        from Plaintiff Carolyn Smith. Exhibit P-029.
219.    Liriano Motors, LLC, began leasing property ID no. R114958 from Dalh-Bastrop, LP in
        2009. Under the triple net lease, Liriano Motors, LLC, was responsible for paying all PID
        assessments on property ID no. R114958.
220.    In 2011, Dalh-Bastrop, LP subdivided a portion of property ID no. R114958 into property
        ID no. R30102. Upon subdivision, Liriano Motors, LLC, leased both property ID nos.
        R114958 and R30102 and was obligated to pay all PID assessments on both properties.
221.    On December 23, 2015, Plaintiff LIRTEX purchased property ID nos. R114958 and
        R30102 from Dalh-Bastrop, LP.
222.    As of September 24, 2019, the City had collected an aggregate of $559,121 in capital
        assessments from property ID nos. R114958 and R30102, all of which was paid by Plaintiff
        LIRTEX or its related entity Liriano Motors, LLC d/b/a Lost Pines Toyota. Exhibit P-029.
223.    From 2009 to 2013, property ID no. R114958 was annually assessed double the applied
        per square foot rate stated in Exhibit F to the 2003 SAP for capital costs, or $0.116 per
        square foot. Exhibit P-029.
224.    From 2011 to 2013, property ID no. R30102 was annually assessed double the applied per
        square foot rate stated in Exhibit F to the 2003 SAP for capital costs, or $0.116 per square
        foot. Exhibit P-029.
225.    From 2013 to 2015, both property ID nos. R114958 and R30102 were annually assessed
        $0.058 per square foot for capital costs, which corresponds with the stated per square foot
        rate in Exhibit F to the 2003 SAP for capital costs. Exhibit P-029.




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226.    From 2016 to 2019, both property ID nos. R114958 and R30102 were annually assessed
        $0.071 per square foot for capital costs, which corresponds with the stated rate in Exhibit
        “C” to the 2003 Ordinance. Exhibit P-029.
227.    At the time of trial, the City collected an aggregate of $644,097.28 in capital assessments
        on property ID nos. R114958 and R30102 from Plaintiff LIRTEX and its predecessor Dalh-
        Bastrop, LP. Exhibit P-029.
228.    Plaintiff VHC acquired its property and started paying annual capital assessments in 2015.
229.    As of September 24, 2019, the City collected an aggregate of $115,067.00 in capital
        assessments from Plaintiff VHC. Exhibit P-029.
230.    During this period, the rate used by the City to calculate annual capital assessments on
        VHC’s property ID no. R104899 does not correspond with any of the per square foot rates
        identified in either Exhibit C to the 2003 Ordinance or the 2003 Ordinance’s SAP. Exhibit
        P-029.
231.    At the time of trial, the City collected an aggregate of $192,158.97 in capital assessments
        on property ID no. R104899 from Plaintiff VHC or its principal Howard Schain. Exhibit
        P-029.
232.    Prior to 2019, the actual assessments levied against the LIRTEX and VHC properties do
        not reconcile with the annual assessments indicated by the per square foot rates in the 2003
        Ordinance (as amended by the 2004 Ordinance). Exhibit P-029.
233.    In January 2019, Robert Reetz contacted George Hyde to obtain a payoff amount of VHC’s
        remaining capital assessments. Exhibit P-064.
234.    Mr. Hyde informed Mr. Reetz that a payoff amount was not available at that time because
        the City was negotiating a resolution with TFHC, but that once their resolution had been
        reached, he could provide VHC with a payoff amount. Exhibit P-064.
235.    Mr. Reetz spoke with Mr. Hyde again on May 6, 2019, however Mr. Hyde again refused
        to provide VHC with the sum that VHC would have to pay to obtain a payoff of its capital
        assessment lien. Exhibit P-064.
236.    On July 2, 2019, Mr. Reetz emailed Mr. Hyde to again obtain a payoff amount for VHC’s
        remaining capital assessments. Exhibit P-064; Exhibit P-075.
237.    In response to Mr. Reetz’s July 2, 2019 email, Mt. Hyde again refused to inform VHC of
        the total remaining amount due on its capital assessments. Exhibit P-064; Exhibit P-075.
238.    On September 19, 2019, just several days before the enactment of the 2019 Ordinance, Mr.
        Hyde sent a letter to Mr. Reetz regarding the payoff amount for VHC’s remaining capital
        assessments:
               Should you wish to pay off the assessment lien at the amount owed prior to
               the adoption of the September 24, 2019 adopted SAP, it would dispose of

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               the lien on all 283.001 acres, and the unpaid portion of that lien is
               $9,362,428.01
        Exhibit P-033.
THE CITY NEVER COLLECTED INTEREST ON PID ASSESSMENTS
239.    Defendants have judicially admitted that, during the entire life of the PID, the City has
        never collected interest on PID assessment payments from PID property owners. Exhibit
        P-066.
240.    Relatedly, Defendants contend that (i) “[i]nterest did not make up a single dime of the 2003
        assessment . . . because actual capital costs (i.e. the roads, bridges, drainage culverts, etc.
        in the Hunters Crossing subdivision) exceeded $11.962 million”; (ii) “every penny of the
        2003 assessment . . . is made up of hard construction costs”; and (iii) “interest could not
        have made up any portion of the 2003 assessment.” Dkt. 94 at ¶ 16.
241.    On September 10, 2018, Ms. Ventura sent Mr. Hyde an email attached with a “restated
        service and assessment plan (SAP)” which Ms. Ventura asserted “could be adopted by
        Bastrop as this year’s update.” Exhibit P-046.
242.    In her September 10, 2018 email, Ms. Ventura also raised the issue of the mandatory
        procedures required of the City under the PIDA Act. She said:
               We need to consider whether a public hearing is needed to support future
               SAP approvals and if such a hearing is needed whether it must comply with
               the mailing and publication requirements of Chapter 372. One thought is no
               public hearing is required for an annual SAP update because no assessment
               is being levied. Instead, the amounts levied in 2003 and revised in 2004
               were the only amounts levied and all that is changed in the annual SAP
               update is the collection mechanics for payment of annual installments and
               O&M budgets. An alternative approach is that Chapter 372 public hearings
               are required because the O&M portion of each payment is levied annually.
        Exhibit P-046.
243.    On February 5, 2019, Mr. Hyde sent an email to Ms. Ventura in which he concluded that
        “this is a zero interest PID.” Exhibit P-049.
244.    In the February 5, 2019 email to Ms. Ventura, Mr. Hyde concluded that because Section
        4.04 of the Development and Reimbursement Agreement “specifically states that interest
        will accrue from the date of each borrowing to pay Project Costs and there has been no
        borrowing, the PID costs have not been subject to interest at all and are not subject to
        interest until and unless there is a ‘borrowing’ (PID DEBT) to pay Project Costs.” Exhibit
        P-049.




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245.    In the February 5, 2019 email to Ms. Ventura, Mr. Hyde further concluded that “the
        payment schedule for residential actual (sic.) results in an overpayment at $8,799 and must
        be reduced to $6,192 as its total[.]” Exhibit P-049.
246.    Later on February 5, 2019, Mr. Hyde sent Ms. Ventura his latest draft of the revised SAP.
        Exhibit P-049.
247.    In his February 5, 2019 email to Ms. Ventura, Mr. Hyde admitted that the “fact is that this
        PID can probably be invalidated pursuant to [Chapter] 372 [of the Texas Local Government
        Code] because of its defects, and we are trying to give it a heart transplant and brain
        transplant to resolve these amicably.” Exhibit P-049.
248.    In response to Mr. Hyde’s February 5, 2019 email, Ms. Ventura stated: “if the economics
        work, the history is irrelevant.” Exhibit P-049.
249.    On July 31, 2019, George Hyde emailed Misty Ventura to reconcile their position on the
        different per parcel capital assessment amounts for single family properties stated in the
        2003 Ordinance: $8,799 vs. $6,192. Exhibit P-062.
250.    Ms. Ventura responded to Mr. Hyde’s July 31, 2019 email: “Perhaps the best way to
        invalidate the $6,192 amount is to make clear that the option to pay this reduced amount
        expired when each owner began making installment payments on the $8,799.” Exhibit P-
        062.
251.    Mr. Hyde replied to Ms. Ventura: “This works and is supported” and “We need to address
        each of the sections in this manner so we can explain where the savings occur in the
        commercial and multi-family.” Exhibit P-062.
THE 2019 ORDINANCE
252.    On August 19, 2019, the City hosted a town hall meeting to review the proposed 2019
        amended and restated service and assessment plan (“2019 SAP”). Stipulated Fact 55.
253.    At the August 19, 2019 town hall meeting, the City provided PID property owners with a
        four-page pamphlet (the “Town Hall Pamphlet”) explaining the impetus behind the 2019
        Ordinance as well as its contents. Stipulated Fact 56; Exhibit P-019.
254.    The Town Hall Pamphlet informed PID property owners that “annual updates to the
        Hunters Crossing PID’s SAP have not occurred. The original Service and Assessment Plan
        (SAP), which was adopted December 9, 2003, has never been amended.” Exhibit P-019.
255.    The Town Hall Pamphlet also stated that “[t]he developer should have been required to
        pay PID fees annually on developer-owned property until sold for development.” Exhibit
        P-019.
256.    The Town Hall Pamphlet informed PID property owners that “[a]t the conclusion of
        tonight’s meeting, the Revised & Amended Service and Assessment Plan will be posted on
        the City’s website[.]” Exhibit P-019.


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257.    Neither the Town Hall Pamphlet nor the 2019 town hall meeting provided notice to PID
        property owners that the 2019 Ordinance would violate the PIDA Act by adjusting the
        capital assessments to incorporate the original developer’s historical capital improvement
        overrun expenditures. Exhibit P-019.
258.    On August 31, 2019, the City published notice in the Bastrop Advertiser of a public hearing
        to be held on September 10, 2019 to consider the 2019 annual review of the service and
        assessment plan. Stipulated Fact 57.
259.    On September 10, 2019, the City approved the first reading of Ordinance No. 2019-40 (the
        “2019 Ordinance”), which approved the 2019 SAP and revised assessment roll. Stipulated
        Fact 58; Exhibit P-009.
260.    On September 12, 2019, the City published notice in the Bastrop Advertiser of a public
        hearing to be held on September 24, 2019 to consider the annual review of the 2019 annual
        review of the service and assessment plan. Stipulated Fact 59.
261.    On September 24, 2019, the City adopted the 2019 Ordinance. Stipulated Fact 60.
262.    The 2019 Ordinance provided that the City had reimbursed TFHC (through its predecessor-
        in-interest Sabine/Forestar) a total of $2,205,097.71 in capital assessments. Exhibit P-009.
263.    The 2019 Ordinance extends the scheduled payments of the capital assessments on
        commercial and multifamily properties. Exhibit P-009; Exhibit P-003.
264.    Specifically, the scheduled payments of the capital assessments on commercial properties
        are extended from 2028 (under the 2003 Ordinance) through 2034 and capital assessments
        on multifamily properties are extended from 2028 through 2041. Exhibit P-009; Exhibit P-
        003.
265.    Under the 2019 Ordinance, the total cost of capital improvements equals $11,961,260
        Exhibit P-009.
266.    Exhibit D to the 2019 SAP is entitled “authorized improvement costs.” Exhibit P-009.
267.    Exhibit D to the 2019 SAP includes the same chart produced in the Singleton Report,
        which, for the reasons described above, applied a flawed methodology in calculating the
        PID developer’s reimbursable interest and “total net capital recovery amount.” Exhibit P-
        009; Exhibit P-018.
268.    Defendants contend that the total cost of capital improvements set forth under the 2019
        Ordinance does not include any interest.
269.    As required under the PIDA Act, the 2019 Ordinance’s service plan includes a five-year
        budget forecast. Exhibit P-009.
270.    The 2019 Ordinance’s five-year budget forecast states that in each FY between 2020 and
        2024, the annual “Capital Assessment Installments Due” equals a total of $463,659.56.
        Exhibit P-009.

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271.    When compared to the June 30, 2017 HCLGC internal financial summary and its annual
        budget for collected capital improvement funds ($280,747), the 2019 Ordinance’s budget
        for annual “Capital Assessment Installments Due” ($463,659.56) represents an increase of
        $182,912.56. Exhibit P-009; Exhibit P-026.
272.    Under the 2019 Ordinance, the total outstanding capital assessments owed by Carolyn
        Smith on property ID no. R95408 is $4,180. Exhibit P-009.
273.    Under the 2019 Ordinance, the total outstanding capital assessments owed by LIRTEX on
        property ID no. R114958 is $316,779.88. Exhibit P-009.
274.    Under the 2019 Ordinance, the total outstanding capital assessments owed by LIRTEX on
        property ID no. R30102 is $278,116.12. Exhibit P-009.
275.    Together, under the 2019 Ordinance, the total outstanding capital assessments owed by
        LIRTEX on its properties equals $594,896.00. Exhibit P-009.
276.    Under the 2019 Ordinance, the total outstanding capital assessments owed by VHC on
        property ID no. R104899 is $793,158.16. Exhibit P-009.
277.    In calculating the outstanding capital assessments per-property under the 2019 Ordinance,
        the City Defendants did not individually credit each property for the amount of capital
        assessment payments already made under the assessments rates set forth by the 2003
        Ordinance. Exhibit P-029; Exhibit P-030; Exhibit P-031.
278.    Instead, to calculate the outstanding capital assessments per-property under the 2019
        Ordinance, the City Defendants’ calculation methodology treated all of the purportedly
        “unpaid” capital balances and payments for each land use category in the aggregate and
        apportioned the new totals to each property in the PID. Exhibit P-029; Exhibit P-030.
279.    Therefore, the revised capital assessments in the 2019 Ordinance did not account for (i.e.
        deduct) the payments that Plaintiffs had already made toward their individual property
        balances as set forth under the 2003 Ordinance. Exhibit P-029; Exhibit P-030.
280.    The 2019 Ordinance states: “An owner of Assessed Property claiming that an error has
        been made in calculating the Assessment Roll or Annual Installments must send written
        notice of the alleged error to the Administrator within 30 days after the date the Assessment
        Roll or Annual Installments were made available for public inspection with the City
        Secretary.” Exhibit P-009.
281.    On October 23, 2019, twenty-nine days after the passage of the 2019 Ordinance, Plaintiffs’
        attorney Robert Reetz sent a letter of protest on behalf of Plaintiffs to Lynda Humble (then
        the Bastrop City Manager) and Connie Schroeder (then the Mayor), objecting to the rates
        and other problems in the 2019 Ordinance. Exhibit P-052.
282.    Plaintiffs’ objections to the 2019 Ordinance were never acted upon nor resolved by the
        City. Exhibit P-053; Exhibit P-054.



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283.    After Plaintiffs filed this lawsuit, the City’s counsel, George Hyde, responded to Mr.
        Reetz’s letter of protest, stating: “In light of your filed litigation, it appears that your written
        protest has been voluntarily superseded and abandoned.” Exhibit P-054.
THE 2019 DEVELOPMENT AND REIMBURSEMENT AGREEMENT
284.    Also on September 24, 2019, the City adopted Resolution No. R-2019-86, which ratified
        the Amended and Restated Development and Reimbursement Agreement executed
        between the City Defendants and TFHC (“2019 Development and Reimbursement
        Agreement”). Exhibit P-008; Stipulated Fact 61.
285.    The 2019 Development and Reimbursement Agreement “amends and restates” the 2004
        Development and Reimbursement Agreement executed between Sabine/Forestar and the
        City. Exhibit P-008.
286.    The 2019 Development and Reimbursement Agreement states that it is a “reimbursement
        agreement” under TEX. LOC. GOV’T CODE § 372.023(d)(1). Exhibit P-008.
287.    The 2019 Development and Reimbursement Agreement states: “the City shall make a
        payment to the Developer [TFHC] at least annually and no later than 90 days after the date
        payment of the Assessments for such year are due and payable to the City[.]” Exhibit P-
        008.
288.    Regarding the amount that TFHC is entitled to receive, the 2019 Development and
        Reimbursement Agreement states:
                    -   “The Developer [TFHC] is entitled to a maximum capital reimbursement
                        amount of $11,961,260 pursuant to the SAP.” Exhibit P-008.
                    -   “To date, the Developer has been paid $2,205,097.71 from Assessment
                        Revenue and the Developer is owed $9,756,162.29 (the “Reimbursement
                        Agreement Balance”). Exhibit P-008.
                    -   “The Reimbursement Agreement Balance is reduced by the 2019
                        Assessment Roll to an amount equal to $7,376,072.02 which is the amount
                        of all unpaid but levied capital assessments to be collected by the City and
                        paid to the Developer.” Exhibit P-008.
289.    The 2019 Development and Reimbursement Agreement also provides that “[r]egardless of
        any past reference to, or past adoption of, any accrual interest on the principal levy, the
        allocation of PID payments shall be applied only to the adjusted principal . . . and any and
        all previously accrued interest shall be waived and cancelled. . . . The total adjusted
        principal herein shall not bear any interest in the future unless otherwise provided herein.”
        Exhibit P-008.
290.    Although the 2019 Development and Reimbursement Agreement does not explain why the
        Reimbursement Agreement Balance is reduced from $9,756,162.29 to $7,376,072.02,



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           Defendants cite to the 2019 Ordinance and explain that this sum “reflects a negotiated
           additional developer contribution to the PID capital costs.”
291.       The capital improvement costs associated with PID improvement projects have all been
           incurred by TFHC and its predecessor in interest, Sabine/Forestar. Stipulated Fact 62.
292.       The City is responsible for collecting annual PID assessments from PID property owners
           under the PIDA Act and 2019 Ordinance; however, under the 2019 Development and
           Reimbursement Agreement, once the City has collected PID assessments from PID
           property owners, it must subsequently transmit those annual assessment payments to
           TFHC, as successor-in-interest to the original PID developer. Exhibit P-009; Exhibit P-
           008.
293.       The 2019 Development and Reimbursement Agreement also discusses the City’s
           obligations to TFHC. It states:
                  The obligations of the City under this Agreement shall not, under any
                  circumstances, give rise to or create a charge against the general credit or
                  taxing power of the City or a debt or other obligation of the City payable
                  from any source other than the PID Reimbursement Fund, the PID Pledged
                  Revenue Fund, or the PID Project Fund. Unless approved by the City, no
                  other City funds, revenues, taxes or income of any kind shall be used to pay:
                  (1) the Costs of the Authorized Improvements; (2) the Reimbursement
                  Agreement Balance even if the Reimbursement Agreement Balance is not
                  paid in full; or (3) debt service on any PID Bonds.
           Exhibit P-008.
     IV.      CONCLUSIONS OF LAW
1.         Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs seek (i) a declaration that the 2019
           Ordinance is invalid and unenforceable under the due process clause of the United States
           Constitution; (ii) a declaration that the Individual Defendants acted ultra vires by seeking
           to enforce the 2019 Ordinance; (iii) a declaration that Plaintiffs’ property assessments
           arising under the PIDA Act are limited to and may not be increased from an amount
           calculated by each property owner’s portion of the 2003 assessment of $7,475,734, less
           any payments that Plaintiffs’ has made on their individual parcels and less the proportionate
           amount that the original developer should have paid in assessments on land it held from
           2003 onward; (iv) a permanent injunction restraining the Individual Defendants from
           implementing or enforcing the 2019 Ordinance; and (v) reasonable and necessary
           attorneys’ fees and costs of court.
2.         Pursuant to TEX. CIV. PRAC. & REM. CODE §§ 37.001 et seq., Plaintiffs seek a declaration
           that the 2019 Ordinance is invalid and enforceable on the ground that it is an
           unconstitutional retroactive law under art. I, sec. 16 of the Texas Constitution.



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3.      Under Texas state law, Plaintiffs seek judgment against Defendant TFHC for negligent
        misrepresentation.
4.      In order to resolve Plaintiffs’ claims, the Court must begin by interpreting the dispositive
        legislative materials implicated in this dispute, which are: (i) the PIDA Act; (ii) the 2003
        Ordinance; and (iii) the 2019 Ordinance.
THE PIDA ACT
5.      To date, no state or federal court has issued a reported opinion interpreting the dispositive
        provisions of the PIDA Act.
6.      As such, interpreting the PIDA Act to determine the City’s obligations in managing and
        operating the PID is a question of first impression.
7.      The Court concludes that the PIDA Act requires the governing body of a municipality or
        county to conduct an annual review and update of the service and assessment plan. See
        TEX. LOC. GOV’T CODE § 372.013.

8.      Under the PIDA Act, if the governing body determines that the actual costs of PID
        improvements has exceeded the prior year’s assessments, it must update the service and
        assessment plan to incorporate those increased costs in that year. See TEX. LOC. GOV’T
        CODE § 372.013.

9.      And if the governing body updates the service and assessment plan to incorporate changes
        in capital improvement costs occurring that year, the governing body may adjust the PID
        property owners’ capital assessments. See TEX. LOC. GOV’T CODE § 372.015(d).

10.     Should the governing body decide not to adjust the assessment in response to that year’s
        actual capital improvement costs, the governing body forfeits its right to adjust the
        assessment to incorporate that year’s overrun improvement costs. See TEX. LOC. GOV’T
        CODE §§ 372.013, 372.015–372.017.

11.     To adjust the assessment, the governing body must comply with the PIDA Act’s notice and
        hearing procedures associated with the assessment roll and levy processes. See TEX. LOC.
        GOV’T CODE §§ 372.016–372.017.


ANNUAL REVIEW OF THE SERVICE AND ASSESSMENT PLAN
12.     The PIDA Act does not permit the governing body of a municipality or county to delegate
        responsibility for the annual review and update of the service and assessment plan to the
        advisory body or another entity. See TEX. LOC. GOV’T CODE § 372.013(a).

13.     Therefore, under the PIDA Act, the City could not delegate to the HCLGC responsibility
        for the annual review and update of the service and assessment plan.


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14.     The PIDA Act does permit the City to delegate to HCLGC responsibility for preparation
        of the service and assessment plan. See TEX. LOC. GOV’T CODE § 372.013(a).

15.     Yet the PIDA Act makes clear that it is the governing body of the municipality or county,
        not the “advisory body” or “another entity,” that must actually review and approve the
        service and assessment plan. See TEX. LOC. GOV’T CODE § 372.013(a).

16.     This conclusion is also confirmed by the text of the 2003 and 2019 Ordinances. See Exhibit
        P-003 (“The City Council directs that a service and assessment plan be prepared for review
        and approval by the City Council in accordance with Chapter 372 of the Texas Local
        Government Code.”); Exhibit P-009 (2019 Ordinance) (“The preparation of the SAP may
        be delegated to an advisory body, but the City Council as the governing body of the
        municipality is responsible to annually consider the proposed plan”).
THE GOVERNING BODY MUST ADJUST THE ASSESSMENT IN RESPONSE TO AN
UPDATED SAP
17.     In the years that the governing body of a municipality or county updates the service and
        assessment plan and wants to pass the updated costs on to PID property owners, the PIDA
        Act requires it to adjust the assessments, propose a new assessment roll, provide notice and
        hearing on the proposed assessment roll, and, by order or ordinance, levy the new
        assessments. See TEX. LOC. GOV’T CODE §§ 372.015–372.017.

18.     The PIDA Act states that “[t]he amount of assessment for each property owner may be
        adjusted following the annual review of the service plan.” TEX. LOC. GOV’T CODE §
        372.015(d).

19.     The PIDA Act commands: “After the total cost of an improvement is determined, the
        governing body of the municipality or county shall prepare a proposed assessment roll. The
        roll must state the assessment against each parcel of land in the district[.]” TEX. LOC. GOV’T
        CODE § 372.016(a).

20.     The PIDA Act outlines specific notice and hearing procedures that the governing body of
        the municipality or county must comply with in order to put the assessment roll into effect
        and actually levy the assessments on the PID properties. See TEX. LOC. GOV’T CODE §§
        372.016–372.017.

21.     Defendants contend that the PIDA Act does not limit their ability to adjust the assessment
        to only incorporate overrun capital costs incurred in the year that such an adjustment
        occurs.




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22.     Rather, Defendants claim broad discretion to adjust the capital assessment to incorporate
        overrun capital expenditures incurred at any point during the life of the PID and in the
        absence of the annual review requirement.

23.     Defendants further contend that in order for the City to actually collect adjusted capital
        assessments, the PIDA Act does not obligate the City to conduct the notice and hearing
        procedures associated with the assessment roll and levy processes. See TEX. LOC. GOV’T
        CODE §§ 372.016–372.017.

24.     Defendants’ reading of the PIDA Act ignores TEX. LOC. GOV’T CODE § 372.016(a)’s
        statutory requirement that the City create a proposed assessment roll after the revised total
        costs of an improvement are determined.

25.     In other words, Defendants mistakenly interpret the PIDA Act as only requiring an
        assessment roll and levy of assessments at the outset of the PID, rather than each time the
        City adjusts the capital assessments to incorporate newly incurred capital improvement
        costs.
THE GOVERNING BODY MAY ONLY ADJUST THE                                        ASSESSMENT          TO
INCORPORATE THAT YEAR’S OVERRUN CAPITAL COSTS
26.     The governing body of a municipality or county may only adjust the assessment to
        incorporate the prior year’s overrun capital improvement costs. TEX. LOC. GOV’T CODE §§
        372.013, 372.015–372.017.
27.     In order to adjust the assessment to incorporate the prior year’s overrun capital
        improvement costs, the governing body must first conduct the annual review of the SAP
        and approve the updated capital improvement costs. TEX. LOC. GOV’T CODE §§ 372.013,
        372.015–372.017.
28.     This conclusion is confirmed by the PIDA Act’s requirement that the governing body of
        the municipality or county annually review and approve the service and assessment plan
        “for the purpose of determining the annual budget for improvements[,]” as well as the
        PIDA Act’s requirement that a proposed assessment roll can only be prepared after the
        total cost of improvements are “determined.” See TEX. LOC. GOV’T CODE §§ 372.013(b),
        372.016(a).
29.     If the governing body either fails to conduct the annual review at all, or conducts the annual
        review but does not update the SAP to incorporate the PID developer’s overrun capital
        costs, the governing body loses the ability to update the SAP and adjust the assessment to
        incorporate the overrun capital costs from that year into the SAP. TEX. LOC. GOV’T CODE
        §§ 372.013, 372.015–372.017.
30.     If the governing body of a municipality or county either fails to conduct the annual review
        at all, or conducts the annual review but does not update the SAP to incorporate the PID
        developer’s overrun capital costs, the PID developer also loses the ability to collect

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            reimbursements for those specific overrun capital costs. TEX. LOC. GOV’T CODE §§
            372.013, 372.015–372.017.
31.         By 2019, the City had no discretion to increase the capital assessments (by adjusting the
            assessment and levying the adjusted amount) to incorporate overrun costs that were
            incurred prior to 2018. TEX. LOC. GOV’T CODE §§ 372.013, 372.015–372.017.
THE GOVERNING BODY HAS NO DISCRETION TO EXEMPT THE PID DEVELOPER
FROM PAYING ASSESSMENTS ON ITS PROPERTIES
32.         The Court concludes that the PIDA Act does not permit the governing body of a
            municipality or county to exempt PID developers from paying assessments on properties
            owned by the PID developer. TEX. LOC. GOV’T CODE § 372.015.
33.         Section 372.015 of the PIDA Act limits the City’s discretion in determining and
            apportioning capital assessments. It states:
      (a)         The governing body of the municipality or county shall apportion the cost of an
                  improvement to be assessed against property in an improvement district. The
                  apportionment shall be made on the basis of special benefits accruing to the property
                  because of the improvement.
      (b)         Cost of an improvement may be assessed:
            (1)       equally per front foot or square foot;
            (2)       according to the value of the property as determined by the governing body, with
                      or without regard to improvements on the property; or
            (3)       in any other manner that results in imposing equal shares of the cost on property
                      similarly benefited.
            TEX. LOC. GOV’T CODE § 372.015(a)–(b).
34.         Therefore, the PIDA Act plainly commands that apportionment of costs assessed against a
            PID property “shall be made on the basis of special benefits accruing to the property
            because of the improvement,” and must be made in a manner “that results in imposing
            equal shares of the cost on property similarly benefited.” TEX. LOC. GOV’T CODE §
            372.015(a), (b)(3).
35.         The PIDA Act briefly discusses “payment by exempt jurisdictions.” TEX. LOC. GOV’T
            CODE § 372.014.
36.         That section, however, is inapplicable here, as it relates to “exempt municipal or county
            property in the district.” TEX. LOC. GOV’T CODE § 372.014(b).
37.         Defendants do not contend that the original PID developer’s properties were “exempt
            municipal or county property in the district.” TEX. LOC. GOV’T CODE § 372.014(b).



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38.     As such, the Court concludes that the PIDA Act does not permit the governing body of a
        municipality or county to exempt a PID developer from paying capital assessments on the
        developer’s properties within the PID. TEX. LOC. GOV’T CODE § 372.015.
39.     Here, the Court finds that the City violated the PIDA Act because it exempted the original
        developer (Sabine/Forestar) from paying assessments on it numerous properties prior to
        transferring them to third-party buyers.
THE PIDA ACT’S LIMITATIONS ON INTEREST
40.     The PIDA Act authorizes a governing body to include two types of interest in the capital
        assessments: (i) interest on annual installments of assessment payments; and (ii) capitalized
        interest that arises under specified types of financial instruments.
41.     With respect to interest on annual assessment payments, “[t]he governing body may
        provide that assessments be paid in periodic installments, at an interest rate and for a period
        approved by the governing body.” TEX. LOC. GOV’T CODE § 372.017(b).
42.     Defendants have judicially admitted that “to date, the City has not collected interest on the
        PID assessment.” Exhibit P-066.
43.     Furthermore, under the 2019 Development and Reimbursement Agreement, TFHC waived
        its right to collect any past or future interest on PID assessments. Exhibit P-056.
44.     The PIDA Act also permits the governing body to include capitalized interest as a cost of
        the capital assessments, but only when the developer is owed interest on a particular type
        of financial instrument.
45.     In relevant part, the PIDA Act states: “The costs of any improvement include interest
        payable on a temporary note or time warrant[.]” TEX. LOC. GOV’T CODE § 372.023(h).
46.     Therefore, unless a PID developer is owed interest under a temporary note or time warrant,
        the PIDA Act does not permit the governing body to include interest as a cost of an
        improvement in the capital assessments. TEX. LOC. GOV’T CODE § 372.023(h).
47.     This means that, unless a PID developer is owed interest under a temporary note or time
        warrant, the PIDA Act does not permit the governing body to reimburse the developer for
        capitalized interest costs claimed by the developer.
48.     Nowhere in the PIDA Act does the Texas Legislature state that the costs of any
        improvement include interest payable on a reimbursement agreement.
49.     During the life of the PID, no general obligation bonds, revenue bonds, time warrants, or
        temporary notes have ever been issued by the City to finance the developer’s construction
        of capital improvements.
50.     During the life of the PID, the PID developer’s right to capital assessment reimbursements
        was established under a reimbursement agreement – first, the original 2004 Development



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        and Reimbursement executed between Sabine/Forestar and the City, and subsequently the
        2019 Development and Reimbursement Agreement executed between TFHC and the City.
51.     The 2004 Development and Reimbursement Agreement provided that “[t]he outstanding
        amounts due to Developer pursuant to this Agreement shall bear interest on the unpaid
        principal amount thereof outstanding from time to time at the Prime Rate plus two percent
        per annum. Interest will accrue from the date of each borrowing to pay Project Costs.”
        Exhibit P-005.
52.     For a governing body to include capitalized interest as a component of the capital
        assessments levied against PID properties, the governing body must issue either a
        temporary note or time warrant that includes payable interest. TEX. LOC. GOV’T CODE §
        372.023(h).
53.     Here, because the City never issued a temporary note or time warrant to the PID developer
        to pay for the costs of capital improvements, the City was not authorized to include interest
        as a cost in the capital assessments that were levied against PID property owners.
54.     Moreover, even assuming that the PIDA Act did permit interest incurred under the 2004
        Development and Reimbursement Agreement to be included in the capital assessments, it
        is undisputed that during the life of the PID, the PID developer never borrowed money to
        pay for the construction of capital improvements, and therefore never incurred any actual
        interest paid on a debt.
55.     This is consistent with George Hyde’s conclusion that the Hunters Crossing PID “is a zero
        interest PID.” Exhibit P-049.
56.     In making this conclusion, Mr. Hyde noted that because “there has been no borrowing, the
        PID costs have not been subject to interest at all and are not subject to interest until and
        unless there is a ‘borrowing’ . . . to pay” for capital improvements. Exhibit P-049.
THE 2003 ORDINANCE
57.     Plaintiffs interpret the 2003 Ordinance as having levied $7.475 million in capital
        assessments against the individual parcels comprising the PID.

58.     In contrast, Defendants interpret the 2003 Ordinance as having levied $11.961 million in
        capital assessments against a single 283-acre parcel comprising the entire PID.

59.     The Court concludes that the 2003 Ordinance levied $7.475 million in capital assessments
        against the individual parcels comprising the PID.

60.     This conclusion is confirmed by the plain text of the 2003 Ordinance, the PIDA Act, and
        the City’s actions following the enactment of the 2003 Ordinance.

61.     In describing the capital assessments, the 2003 Ordinance identified $7.475 million in
        estimated capital expenditures, and $4.5 million in estimated interest calculated using a 6%

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        simple interest rate applied over a 10-year period, for a total of $11.961 million. Exhibit P-
        003.
62.     However, Defendants admit that (i) the City never collected any interest on PID
        assessments; (ii) “[i]nterest does not make up a single dime of the 2003 assessment”; (iii)
        “every penny of the 2003 assessment . . . is made up of hard construction costs”; and (iv)
        “interest could not have made up any portion of the 2003 assessment.” Exhibit P-066; Dkt.
        94 at ¶ 16.
63.     Pursuant to the City-TFHC 2019 Development and Reimbursement Agreement, TFHC
        waived any past or future right to collect interest in PID assessments. Exhibit P-056.
64.     The architect of the 2019 Ordinance, George Hyde, concluded that the deficiencies in the
        2003 Ordinance rendered the Hunters Crossing PID “a zero interest PID.” Exhibit P-049.
65.     Defendants fail to explain how the City could have been collecting capital assessment
        payments between 2003 and 2019 without interest if the total capital assessment amount
        included in the 2003 Ordinance explicitly included $4.5 million in interest.
66.     It is undisputed that the 2003 capital assessments did not include interest.
67.     It is also undisputed that, pursuant to the 2019 Development and Reimbursement
        Agreement, TFHC waived its right to collect any interest under the 2003 Ordinance.
68.     As noted above, the Court has also found that until the enactment of the 2019 Ordinance,
        the City never adjusted the capital assessments to incorporate the developer’s overrun
        capital improvement costs.
69.     Taken together, the Court concludes that the 2003 Ordinance provided for $7.475 million
        in capital assessments.
THE 2003 ORDINANCE DID NOT AND COULD NOT LEVY CAPITAL ASSESSMENTS
IN LUMP SUM AGAINST A SINGLE PARCEL
70.     Next, the Court finds that the 2003 Ordinance did not levy a lump-sum assessment against
        the entire 283 acres comprising the PID.
71.     Nowhere in the 2003 Ordinance does it state that the capital assessments are levied against
        a single tract.
72.     In contrast, the 2003 Ordinance states that the capital assessments are levied against distinct
        parcels in the PID.
73.     For example, the 2003 Ordinance states: “The City Council finds that the assessments . . .
        should be made and levied against the respective parcels of property within the PID and
        against the owners thereof, and are substantially in proportion to the benefits of the
        respective parcels of property by means of improvements in the PID for which such
        assessments are levied, and establish substantial justice and equality and uniformity
        between respective owners of the respective properties and between all parties concerned

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        considering the benefits received and burdens imposes, and further finds that in each case
        the property assessed is specifically benefited by means of the said improvements in the
        PID[.]” Exhibit P-003 (emphasis added).
74.     The 2003 Ordinance also states: “There shall be and is hereby levied and assessed against
        the parcels of property within the PID, and against the owners thereof (whether such
        owners be correctly names or not), the sums of money set forth in the Assessment/Service
        Plan[.]” Exhibit P-003 (emphasis added).
75.     Moreover, the Service and Assessment Plan attached to the 2003 Ordinance makes
        numerous references to and descriptions of the multiple tracts comprising the PID, and uses
        these tracts to calculate the assessments that were levied on a parcel-by-parcel basis.
        Exhibit P-003.

76.     “It is ‘a cardinal principle of statutory construction’ that ‘a statute ought, upon the whole,
        to be so construed that, if it can be prevented, no clause, sentence, or word shall be
        superfluous, void, or insignificant.’” Kaltenbach v. Richards, 464 F.3d 524, 528 (5th Cir.
        2006) (quoting TRW Inc. v. Andrews, 534 U.S. 19, 21 (2001)).

77.     Defendants’ interpretation would render numerous clauses of the 2003 Ordinance as
        superfluous and void, and as a result, cannot pass muster.

78.     The Court’s conclusion that the 2003 Ordinance did not levy capital assessments against a
        single 283-acre tract is also confirmed by the PIDA Act, which refers to assessments as
        individualized to property owners and particular tracts. See TEX. LOC. GOV’T CODE §
        372.015 (“The amount of assessment for each property owner may be adjusted following
        the annual review of the service plan); id. § 372.016(a) (“The [assessment] roll must state
        the assessment against each parcel of land in the district, as determined by the method of
        assessment chosen by the municipality or county”); id. § 372.017(a) (“At or on the
        adjournment of the hearing referred to by Section 372.016 on proposed assessments . . .
        [t]he governing body may amend a proposed assessment on any parcel.”).

79.     In contrast to Defendants’ position, the PIDA Act does not permit a municipality to assess
        and levy improvement costs against a single tract comprising the entire PID.

80.     Defendants’ theory that the 2003 Ordinance levied $11.961 million in bulk on a single 283-
        acre tract comprising the entire PID is refuted by the City’s actions following the enactment
        of the 2003 Ordinance.

81.     After the 2003 Ordinance was passed, the Bastrop County Tax Assessor collected PID
        assessments by property ID. Exhibit P-034.




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82.     Prior to 2019, despite collecting PID assessments by property ID, the Bastrop County Tax
        Assessor did not maintain reports of assessments paid by parcel. The information was
        always available to Defendants; it was merely disorganized and needed to be collated.

83.     In June 2017, Tracy Waldron represented that she was able to “calculate what the
        assessment would be on any parcel.” Exhibit P-036.

84.     In March 2018, Misty Ventura calculated the total capital assessment levied under the 2003
        Ordinance on the multifamily parcel owned by MacDonald, PID property ID no. R113268.
        Exhibit P-038.

85.     Also in March 2018, Misty Ventura calculated the total capital assessment levied under the
        2003 Ordinance on the property owned by VHC, PID property ID no. R104899. Exhibit P-
        045.

86.     Taken together, the Court concludes that under the 2003 Ordinance, capital assessments
        were levied against the distinct parcels within the PID, rather than levied lump-sum against
        a single 283-acre parcel comprising the entire PID.


PLAINTIFFS’ CAPITAL ASSESSMENTS UNDER THE 2003 ORDINANCE


87.     Under the 2003 Ordinance, the total aggregate assessment encumbering Plaintiff Carolyn
        Smith’s property was $6,192. Exhibit P-003; Exhibit P-030.

88.     Under the 2003 Ordinance (as amended by the 2004 Ordinance), the total aggregate
        assessment encumbering Plaintiff LIRTEX’s property was $437,820. Exhibit P-003;
        Exhibit P-030.

89.     Under the 2003 Ordinance (as amended by the 2004 Ordinance), the total aggregate
        assessment encumbering Plaintiff VHC’s property was $246,836. Exhibit P-003; Exhibit
        P-030.
IN VIOLATION OF THE PIDA ACT, THE 2003 ORDINANCE EXEMPTED THE PID
DEVELOPER FROM PAYING ASSESSMENTS ON ITS PROPERTIES


90.     The Court concludes that the 2003 Ordinance was defective because it exempted the
        original developer from paying capital assessments on the PID properties that it owned.
        See TEX. LOC. GOV’T CODE § 372.015.

91.     The 2003 Ordinance provided that “[t]he first annual PID assessments on commercial and
        multifamily property located in the PID shall be due on the last to occur of the following
        two events: (a) the effective date of this Ordinance; or (b) the date that ownership of the

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        tract or lot of land located in the PID is transferred from [the original developer] Sabine
        Investments, Inc. The first annual assessments on single-family property located in the PID
        shall be due on the date that the property is transferred to the homeowner.” Exhibit P-003.

92.     Because the 2003 Ordinance delayed the obligation to pay PID assessments until the
        original developer transferred a particular property, the 2003 Ordinance failed to apportion
        costs assessed against PID properties “on the basis of special benefits accruing to the
        property because of the improvement[.]” TEX. LOC. GOV’T CODE § 372.015(a).

93.     Despite the fact that the original developer’s properties were specially benefited by the
        improvements prior to being transferred to third-party purchasers, the 2003 Ordinance
        erroneously relieved the original developer from paying its share of the capital assessments.

94.     Because the original developer was unlawfully exempted from paying capital assessments
        under the 2003 Ordinance, the other PID property owners’ capital assessments were
        proportionally larger than they should have been from 2003 onward.

95.     In contravention of TEX. LOC. GOV’T CODE § 372.015(a), this infirmity resulted in unequal
        costs imposed on all properties not owned by the original developer, resulting in the 2003
        Ordinance’s failure to apportion costs assessed against PID properties “on the basis of
        special benefits accruing to the property because of the improvement[.]” TEX. LOC. GOV’T
        CODE § 372.015(a).
THE 2019 ORDINANCE
96.     Plaintiffs and Defendants both agree that the 2019 Ordinance provided for $11.961 million
        in total capital assessments.
97.     Yet because the parties disagree as to amount of capital assessments under the 2003
        Ordinance, they necessarily disagree on the effect of the 2019 Ordinance.
98.     Having concluded that the 2003 Ordinance levied a total of $7.475 million in capital
        assessments against the individual parcels in the PID, the Court finds that the 2019
        Ordinance raises the original 2003 assessments to $11.961 million.
99.     Between 2005 and 2016, the City Council failed to conduct an annual review of the 2003
        SAP in accordance with the PIDA Act.
100.    Between 2005 and 2012, neither the City Council nor HCLGC conducted an annual review.
101.    In each of the years between 2012 and 2016, the HCLGC reviewed and approved the 2003
        capital improvement costs without revision. Exhibit P-010; Exhibit P-011; Exhibit P-012;
        Exhibit P-013; Exhibit P-014; Exhibit P-015.
102.    Although the City Council conducted an annual review of the 2003 SAP in 2017 and 2018,
        it did not update the capital improvement costs in the 2003 SAP, despite its knowledge that


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        the original developer had incurred overrun capital improvement costs far exceeding the
        2003 SAP’s estimate.
103.    Because the City Council failed to conduct annual reviews of the 2003 SAP in the years
        that the original developer incurred overrun capital improvement costs, it was prohibited
        from incorporating those overrun costs into the capital assessments in later years. See TEX.
        LOC. GOV’T CODE §§ 372.013, 372.015–372.017.
104.    The increased sum of capital assessments under the 2019 Ordinance is comprised of
        overrun capital improvement expenditures incurred by the original developer prior to 2011.
105.    Taken together, by enacting the 2019 Ordinance, the City Defendants exceeded their
        statutory authority under the PIDA Act because the 2019 Ordinances raises the capital
        assessments by incorporating the original developer’s overrun capital improvement costs
        no fewer than seven years after those costs were incurred. See TEX. LOC. GOV’T CODE §§
        372.013, 372.015–372.017.
106.    Because the City has never incurred any costs associated with PID capital improvements,
        the increased capital assessments under the 2019 Ordinance do not offset any costs borne
        by the City.
107.    Rather, the increased capital assessments under the 2019 Ordinance offset the overrun
        capital improvement costs borne by TFHC, through its predecessor in interest
        Sabine/Forestar.
108.    Even assuming that the City had properly conducted the required annual reviews in the
        years that the original developer incurred overrun capital improvement costs, and updated
        the capital assessments accordingly, the 2019 Ordinance was enacted in the absence of the
        PIDA Act’s mandatory notice and hearing procedures. See TEX. LOC. GOV’T CODE §§
        372.016–.017.
109.    The 2019 Ordinance impermissibly revised the 2003 capital assessments both by increasing
        them and re-apportioning them among the parcels in the PID.
110.    In contrast to Defendants’ position, the 2019 Ordinance did not simply update the 2003
        SAP.
111.    Because the 2019 Ordinance put into effect a revised assessment roll that increased capital
        assessments and reapportioned them among the distinct parcels in the PID, the 2019
        Ordinance constituted a levy of the adjusted capital assessments under the revised
        assessment roll. See TEX. LOC. GOV’T CODE §§ 372.016–.017.
112.    Because the 2019 Ordinance had the effect of levying the adjusted capital assessments
        under the revised assessment roll, the City was required to comply with the notice and
        hearing procedures of TEX. LOC. GOV’T CODE §§ 372.016–.017.




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113.    In violation of the PIDA Act, the City Defendants failed to conduct the PIDA Act’s
        required notice and hearing procedures for updating the assessment roll and levying the
        revised capital assessments. See TEX. LOC. GOV’T CODE §§ 372.016–.017.
THE 2019 ORDINANCE DID NOT INDIVIDUALLY CREDIT PLAINTIFFS FOR THEIR
PAST ANNUAL ASSESSMENT PAYMENTS
114.    The Court finds that the 2019 Ordinance did not credit Plaintiffs for their past annual
        assessment payments made on their individual parcels.
115.    In calculating the outstanding assessments per property ID number under the 2019
        Ordinance, the City did not credit each property owner for the amount of payments each
        made toward the original 2003 SAP.
116.    Instead, the City’s calculation methodology treated all unpaid capital balances and
        payments in the aggregate to arrive at the per land use assessments.
117.    Then, the City’s calculation methodology apportioned the revised per land use assessments
        to each owner.
118.    The result of the City’s failure to individually credit multifamily PID property owners for
        assessments already paid was to reassess the total capital costs at a higher rate without
        consideration for amounts already paid.
119.    The result of the City’s failure to individually credit commercial PID property owners for
        assessments already paid was to restate the total capital assessments on all commercial
        properties at a slightly lower rate per square foot.
THE EFFECT OF THE 2019 ORDINANCE ON PLAINTIFFS
120.    As noted above, the Court finds that the 2019 Ordinance did not individually credit
        Plaintiffs for the past annual assessment payments they made on their respective parcels.
121.    Under the 2019 Ordinance, the total outstanding capital assessment encumbering Carolyn
        Smith’s property is $4,180. Exhibit P-009.
122.    Until the 2019 Ordinance was enacted, Carolyn Smith had paid a total of $3,804 in annual
        capital assessments. Exhibit P-029.
123.    Because the 2019 Ordinance failed to credit Carolyn Smith for the $3,804 in annual capital
        assessments already paid, the 2019 Ordinance increases her capital assessments by
        $1,792.00. Exhibit P-029.
124.    Under the 2019 Ordinance, the total outstanding capital assessment encumbering
        LIRTEX’s property ID no. R30102 is $278,116.12. Exhibit P-009.
125.    Under the 2019 Ordinance, the total outstanding capital assessment encumbering
        LIRTEX’s property ID no. R114958 is $316,779.88. Exhibit P-009.



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126.    Under the 2019 Ordinance, the combined total outstanding capital assessments
        encumbering LIRTEX’s properties in the PID equals $594,896.00. Exhibit P-009.
127.    Until the 2019 Ordinance was enacted, the LIRTEX properties had paid a total of $559,121
        in annual capital assessments. Exhibit P-029.
128.    Because the 2019 Ordinance failed to credit LIRTEX for the $559,121 in annual capital
        assessments already paid, the 2019 Ordinance increases its capital assessments by at least
        $716,197. Exhibit P-029.
129.    Under the 2019 Ordinance, the total outstanding assessment encumbering VHC’s property
        ID no. R104899 is $793,158.16. Exhibit P-009.
130.    Until the 2019 Ordinance was enacted, VHC had paid a total of $115,067 in annual capital
        assessments. Exhibit P-029.
131.    Because the 2019 Ordinance failed to credit VHC for the $115,067 in annual capital
        assessments already paid, the 2019 Ordinance increases its capital assessments by at least
        $661,389. Exhibit P-029.


                                      COUNTS I, II, and III

132.    Under Count I, Plaintiffs seek a declaration that the 2019 Ordinance is invalid and
        unenforceable under the United States Constitution, Texas Constitution and state law.

133.    Under Count II, Plaintiffs seek a declaration that (i) the Individual Defendants acted ultra
        vires by attempting to enforce the 2019 Ordinance; and (ii) Plaintiffs’ property assessments
        arising under the PIDA Act are limited to and may not be increased from an amount
        calculated by each property owner’s portion of the 2003 assessment of $7,475,734, less
        any payments that Plaintiffs’ has made on their individual parcels and less the proportionate
        amount that the original developer should have paid in assessments on land it held from
        2003 onward.

134.    Under Count III, Plaintiffs seek a permanent injunction restraining the Individual
        Defendants from implementing or enforcing the 2019 Ordinance.

135.    Because each of these Counts relate to the validity of the 2019 Ordinance under the United
        States and Texas Constitutions, the Court will analyze them together.
SECTION 1983 CLAIMS
136.    Pursuant to 42 U.S.C. § 1983, Plaintiffs allege that the City’s enactment of the 2019
        Ordinance deprived them of their substantive and procedural due process rights.
137.    Plaintiffs seek a declaration that the 2019 Ordinance’s constitutional infirmities render it
        invalid and unenforceable, a declaration that the Individual Defendants acted ultra vires in


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        seeking to enforce the 2019 Ordinance, and a permanent injunction preventing the
        Individual Defendants from enforcing the 2019 Ordinance in the future
138.    Section 1983 creates a cause of action against any person who, acting under color of state
        law, abridges “rights, privileges, or immunities secured by the Constitutions and laws of
        the Unites States.” 42 U.S.C. § 1983.
139.    Section 1983 provides a federal remedy for violations, under color of state law, of the rights
        secured by the Constitution, including the right to due process guaranteed by the Fourteenth
        Amendment. Energy Mgmt. Corp. v. City of Shreveport, 467 F.3d 471, 481 (5th Cir. 2006).
SUBSTANTIVE DUE PROCESS AND THE 2019 ORDINANCE
140.    The Due Process Clause protects against “certain arbitrary, wrongful government actions
        ‘regardless of the fairness of the procedures used to implement them.’” Zinermon v. Burch,
        494 U.S. 113, 125 (1990) (quoting Daniels v. Williams, 474 U.S. 327, 331 (1986)).

141.    Unlike procedural due process which requires certain procedures be in place when the
        government deprives a person of a protected liberty, substantive due process is implicated
        by the act itself of depriving someone of a protected right without any reasonable
        justification in terms of a legitimate governmental objective. County of Sacramento v.
        Lewis, 523 U.S. 833, 846 (1998).

142.    To establish a substantive due process violation, Plaintiffs must prove that: (i) the City
        Defendants deprived Plaintiffs of a constitutionally protected property interest; and (ii) this
        deprivation was arbitrary, unreasonable, or had no relationship to a legitimate government
        interest. See Simi Investment Company, Inc. v. Harris County, Texas, 236 F.3d 240, 249
        (5th Cir. 2000); see also Hidden Oaks v. City of Austin, 138 F.3d 1036, 1046 (5th Cir.
        1996) (“In order to assert a violation of this amendment, one must at least demonstrate the
        deprivation of a protected property interest established through some independent source
        such as state law.”) (internal quotation marks and citations omitted).
CONSTITUTIONALY PROTECTED PROPERTY INTERESTS
143.    To succeed on their substantive due process claim, Plaintiffs first must establish that they
        held a constitutionally protected property right to which the Fourteenth Amendment's due
        process protection applies. Simi Investment Company, Inc. v. Harris County, Texas, 236
        F.3d 240, 249–50 (5th Cir. 2000).

144.    The nature of Plaintiffs’ property interest here must be determined by Texas law. See
        Hidden Oaks v. City of Austin, 138 F.3d 1036, 1046 (5th Cir. 1996) (“Under this analysis,
        the hallmark . . . is an individual entitlement grounded in state law, which cannot be
        removed except for cause”) (internal quotations marks and citations omitted); see also
        Woodard v. Andrus, 419 F.3d 348, 354 (5th Cir. 2005) (“state-created property rights are
        protected by due process of law”); Blackburn v. City of Marshall, 42 F.3d 925, 936–37 (5th
        Cir. 1995) (“Property interests are not created by the Constitution; rather, they stem from

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        independent sources such as state statutes, local ordinances, existing rules, contractual
        provisions, or mutually explicit understandings.”).

145.    A property interest arises where an individual has a “legitimate claim to entitlement” in
        some right. Skidmore v. Shamrock Indep. Sch Dist., 464 F.2d 605, 606 (5th Cir. 1972); see
        also Logan v. Zimmerman Brush Co., 455 U.S. 422, 430 (1982) (quoting Memphis Light,
        Gas & Water Div. v. Craft, 436 U.S. 1, 11–12 (1978)) (“The hallmark of property . . . is an
        individual entitlement grounded in state law, which cannot be removed except ‘for
        cause.’”).

146.    “[T]he types of interests protected as ‘property’ are varied and, as often as not, intangible,
        relating ‘to the whole domain of social and economic fact.’” Logan v. Zimmerman Brush
        Co., 455 U.S. 422, 430 (1982) (quoting National Mutual Insurance Co. v. Tidewater
        Transfer Co., 337 U.S. 582, 646 (1949) (Frankfurter, J., dissenting)).

147.    A statute or regulation creates a property interest for individuals when it places substantial
        limits on the government’s exercise of its discretion. See Ridgley v. Fed. Emergency Mgmt.
        Agency, 512 F.3d 727, 735 (5th Cir. 2008) (“In determining whether statutes and
        regulations limit official discretion, the Supreme Court has explained that we are to look
        for explicitly mandatory language, i.e., specific directives to the decisionmaker that if the
        regulations’ substantive predicates are present, a particular outcome must follow”).

148.    A legislature’s use of mandatory language in a statute generally indicates a substantive
        limit on a government official’s exercise of discretion. See Ridgley v. Fed. Emergency
        Mgmt. Agency, 512 F.3d 727, 735–36 (5th Cir. 2008); see also Hampton Co. Nat’l Sur.
        LLC v. Tunica County Miss., 543 F.3d 221, 226 (5th Cir. 2008) (“No discretion in the
        official and a reasonable expectation in the citizen are central elements of a protected
        property interest.”); Town of Castle Rock v. Gonzales, 545 U.S. 748, 756 (2005) (“a benefit
        is not a protected entitlement if governments officials may grant or deny it in their
        discretion.”).

149.    A number of the dispositive PIDA Act provisions at issue use mandatory language,
        including:
        •      “The advisory body shall prepare an ongoing service plan and present the plan to
               the governing body of the municipality or county for review and approval . . . The
               plan must cover a period of at least five years and must also define the annual
               indebtedness and the projected costs for improvements. The plan shall be reviewed
               and updated annually for the purpose of determining the annual budget for
               improvements.” TEX. LOC. GOV’T CODE § 372.013 (emphasis added).
        •      “An assessment plan must be included in the annual service plan.” TEX. LOC.
               GOV’T CODE § 372.014 (emphasis added).
        •      “The governing body of the municipality or county shall apportion the cost of an
               improvement to be assessed against property in an improvement district. The

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               apportionment shall be made on the basis of special benefits accruing to the
               property because of the improvement.” TEX. LOC. GOV’T CODE § 372.015(a)
               (emphasis added).
        •      “After the total cost of an assessment is determined, the governing body of the
               municipality or county shall prepare a proposed assessment roll. The roll must state
               the assessment against each parcel of land in the district, as determined by the
               method of assessment chosen by the municipality or county under this subchapter.”
               TEX. LOC. GOV’T CODE § 372.016(a) (emphasis added).
        •      “At or on the adjournment of the hearing referred to by Section 372.016 on
               proposed assessments, the governing body of the municipality or county must hear
               and pass on any objection to a proposed assessment.” TEX. LOC. GOV’T CODE §
               372.017(a) (emphasis added).
        •      “After all objections have been heard and the governing body has passed on the
               objections, the governing body by ordinance or order shall levy the assessment as
               a special assessment on the property. The governing body by ordinance or order
               shall specify the method of payment of the assessment.” TEX. LOC. GOV’T CODE §
               372.017(b) (emphasis added).
        •      “If general obligation bonds, revenue bonds, time warrants, or temporary notes are
               issued to finance the improvement for which the assessment is assessed, the interest
               rate for that assessment may not exceed a rate that is one-half of one percent higher
               than the actual interest rate paid on the debt.” TEX. LOC. GOV’T CODE § 372.018(a)
               (emphasis added).
        •      “The interest rate on unpaid amounts due under a[] . . . reimbursement agreement .
               . . (1) may not exceed, for a period of not more than five years, as determined by
               the governing body of the municipality or county, five percent above the highest
               average indiex rate for tax-exempt bonds reported in a daily or weekly bond index
               approved by the governing body and reported in the month before the date the
               obligation was incurred; and (2) after the period described in Subdivision (1), may
               not exceed two percent above the bond index rate described in Subdivision (1).”
               TEX. LOC. GOV’T CODE § 372.023(e) (emphasis added).
150.    Because the PIDA Act places significant restrictions on the City’ discretion in adjusting
        assessments by mandating the process required for adjustment, Plaintiffs have shown that
        the PIDA Act provides them with constitutionally protected property rights. See Ridgley v.
        Fed. Emergency Mgmt. Agency, 512 F.3d 727, 735–36 (5th Cir. 2008); TEX. LOC. GOV’T
        CODE §§ 372.013–372.018, 372.023.
151.    Relevant to the case at bar, Plaintiffs have shown that they are entitled to the following
        constitutionally protected property interests arising under the PIDA Act:
        •      A property interest in having their real property subject to PID assessments lawfully
               apportioned and levied under the PIDA Act’s statutory commands. See TEX. LOC.
               GOV’T CODE §§ 372.013, 372.015–372.017.



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        •      A property interest in retaining credit from their previous annual payments of PID
               assessments under the revised 2019 assessments. See TEX. LOC. GOV’T CODE §
               372.015.
        •      A property interest in having their properties assessed on the basis of special
               benefits accruing to their property because of the capital improvement and in a
               manner that imposes equal costs among those similarly benefited. See Tex. LOC.
               GOV’T CODE § 372.015.
        •      A property interest in not paying interest that is impermissible under the PIDA Act
               as set forth in TEX. LOC. GOV’T CODE § 372.018(a).

152.    Plaintiffs have shown that the 2019 Ordinance deprived them of their constitutionally
        protected property interests arising under the PIDA Act.
153.    In the absence of statutory compliance, the City Defendants increased Plaintiffs’ individual
        capital assessments.
154.    The 2019 Ordinance increases Plaintiff Carolyn Smith’s total capital assessment obligation
        by at least $1,792.
155.    The 2019 Ordinance increases Plaintiff LIRTEX’s total capital assessment obligation by
        at least $716,197.
156.    The 2019 Ordinance increases Plaintiff VHC’s total capital assessment obligation by at
        least $661,389.
157.    The City Defendants adjusted Plaintiffs’ capital assessments despite the fact that the City
        Council failed to conduct the PIDA Act’s mandatory annual review procedures in the years
        that the developer incurred overrun capital improvement costs. See TEX. LOC. GOV’T CODE
        § 372.013.
158.    Under the PIDA Act’s statutory structure, the City’s failure to conduct annual reviews in
        the years that the original developer incurred overrun improvement costs meant that the
        City could not, in subsequent years, incorporate the developer’s overrun costs into
        Plaintiffs’ remaining capital assessments. See TEX. LOC. GOV’T CODE § 372.013.
159.    In calculating Plaintiffs’ capital assessments under the 2019 Ordinance, the City did not
        individually credit Plaintiffs for their past annual capital assessment payments to the City.

160.    Each commercial property was assessed the same amount in the 2019 Ordinance regardless
        of the amount of past-annual capital assessments made.

161.    The City failed to individually credit single-family property owners for past assessment
        payments.




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162.    The City credited the aggregate of all single-family capital assessment payments made
        prior to the enactment of the 2019 Ordinance and then allocated the outstanding balance
        across each single-family parcel.

163.    Through the 2019 Ordinance, the City failed to individually credit Plaintiff Carolyn Smith
        for $3,804 in past capital assessment payments.

164.    Through the 2019 Ordinance, the City failed to individually credit Plaintiff LIRTEX for
        $559,121 in past capital assessment payments.

165.    Through the 2019 Ordinance, the City failed to individually credit Plaintiff VHC for
        $115,067 in past capital assessment payments.

166.    In calculating the capital assessments under the 2019 Ordinance, the City’s failure to
        individually credit Plaintiffs for past capital assessment payments had the result of
        increasing the assessment liens on Plaintiffs’ properties.

167.    The 2019 Ordinance calculated Plaintiffs’ outstanding capital assessments under the
        flawed 2003 Ordinance, which impermissibly exempted the original developer from
        paying capital assessments on its properties until the particular property was transferred to
        Plaintiffs.

168.    This further contributed to Plaintiffs’ increased capital assessments under the 2019
        Ordinance in that the City failed to apportion the costs of capital improvements “on the
        basis of special benefits accruing to the property because of the improvement” and in a
        manner that imposed “equal shares of the cost on property similarly benefited.” TEX. LOC.
        GOV’T CODE § 372.015(a), (b)(3).
RATIONAL BASIS REVIEW
169.    Satisfied that the 2019 Ordinance deprives Plaintiffs’ protected property interests arising
        under the PIDA Act, the Court must consider whether this deprivation is rationally related
        to a legitimate government interest.

170.    “The legal inquiry using the rational basis test is two-fold. The Court must determine (1)
        whether the regulation has a legitimate governmental purpose; and (2) whether there is a
        rational relationship between that purpose and the means chosen by the State to accomplish
        it.” St. Joseph Abbey v. Castille, 835 F. Supp. 2d 149, 156 (E.D. La. 2011), aff’d by, 712
        F.3d 215 (5th Cir. 2013).

171.    “The requirement of a legitimate public purpose guarantees that the [governmental body]
        is exercising its police power, rather than providing a benefit to special interests.” Energy
        Reserves Group v. Kan. Power & Light Co., 459 U.S. 400, 412 (1983).



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172.    When government action is “clearly arbitrary and unreasonable, having no substantial
        relation to the public health, safety, morals, or general welfare,” it is not rationally related
        to a legitimate government interest and may be held to violate due process. FM Properties
        Operating Co. v. City of Austin, 93 F.3d 167, 174–75 (5th Cir. 1996) (quoting Euclid v.
        Amber Realty Co., 272 U.S. 365, 395 (1926)).

173.    In a rational-basis review of substantive due process claims, the inquiry focuses on whether
        “the governmental body could have had no legitimate reason for its decision.” Shelton v.
        City of College Station, 780 F.2d 475, 483 (5th Cir. 1983) (en banc) (citing Minnesota v.
        Clover Leaf Creamery Co., 449 U.S. 456, 464 (1985)).

174.    “[A]lthough rational basis review places no affirmative evidentiary burden on the
        government, [a] plaintiff[] may nonetheless negate a seemingly plausible basis for the law
        by adducing evidence of irrationality.” St. Joseph Abbey v. Castille, 712 F.3d 215, 223 (5th
        Cir. 2013).

175.    In the Fifth Circuit, rational basis analysis “does not proceed with abstraction for
        hypothesized ends and means do not include post hoc hypothesized facts.” St. Joseph
        Abbey v. Castille, 712 F.3d 215, 223 (5th Cir. 2013).


176.    Rational basis review of economic regulation “does not demand judicial blindness to the
        history of a challenged rule or the context of its adoption nor does it require courts to accept
        nonsensical explanations for regulation.” St. Joseph Abbey v. Castille, 712 F.3d 215, 226
        (5th Cir. 2013).

177.    “While the ‘rational basis’ standard is the least demanding test used by the courts to uphold
        governmental action, it is not ‘toothless.’” Simi Inv. Co. v. Harris County, 236 F.3d 240,
        253 (5th Cir. 2000) (quoting Berger v. City of Mayfield Heights, 154 F.3d 621, 625 (6th
        Cir. 1998)).

178.    Even under this low threshold, the City has failed to show that a rational basis exists to
        justify its interference with Plaintiffs’ protected property rights.

179.    The Court cannot conceive a legitimate basis upon which the City choose not to follow the
        mandatory provisions of the PIDA Act for over 15 years to the detriment of property
        owners and then pass an ordinance that increased Plaintiffs’ capital assessments for the
        benefit of a developer.

180.    As discussed above, the 2003 SAP could not be revised in 2019 to incorporate the original
        developer’s long-since-incurred overrun capital improvement expenditures because the
        City failed to conduct the PIDA Act’s mandatory annual review of the 2003 SAP in the
        years that the original developer incurred those overrun capital improvement costs.

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181.    The City’s failure to comply with the PIDA Act meant that by 2018, when TFHC purchased
        its interest in the PID, TFHC could not obtain reimbursement for the overrun capital
        expenditures incurred by its predecessor-in-interest, Sabine/Forestar.

182.    Increasing Plaintiffs’ assessments in the absence of statutory compliance in order to
        reimburse TFHC cannot reasonably relate to a legitimate government objective, even under
        the broad standards of the City’s police power – no public welfare was served by the City
        Defendants’ failure to fulfill their PIDA Act obligations, nor by their methods of solving
        the problems that arose from such neglect.

183.    Measured against the rational basis test, the 2019 Ordinance’s effect of increasing the
        original PID assessment in the absence of statutory compliance is clearly arbitrary,
        capricious, and violative of due process.

184.    To be sure, a governmental body has a legitimate interest in charging fees to offset its costs.
        See Broussard v. Parish of New Orleans, 318 F.3d 644, 656–57, 660 (5th Cir. 2003), cert.
        denied, 539 U.S. 915 (2003).

185.    Critically here, the City is not indebted to TFHC. In accordance with the PIDA Act and
        2019 Development and Reimbursement Agreement, all of the capital assessments collected
        by the City are paid to TFHC, as successor-in-interest to the original PID developer.

186.    Accordingly, the City’s act of increasing the capital assessments on Plaintiffs’ properties
        does not offset its own costs.

187.    Rather, the City’s act of increasing the capital assessments on Plaintiffs’ properties operates
        to offset the overrun capital improvement costs borne by TFHC, through its predecessor-
        in-interest Sabine/Forestar.

188.    The City’s only obligation is to collect PID assessments from PID property owners as
        provided in the 2003 Ordinance and reimburse TFHC those amounts.

189.    If the 2019 Ordinance is invalidated, the City bears no financial loss. Therefore, the City
        Defendants cannot point to a legitimate interest in offsetting costs.

190.    The only basis in the record to explain the City’s act of increasing the original PID
        assessments in the absence of statutory compliance appears to be the ensuing benefit to the
        PID developer, TFHC, by enlarging the aggregate assessments for which TFHC could be
        reimbursed.

191.    The record strongly suggests that the City implemented an illegitimate plan to benefit the
        private interests of Defendant TFHC, who was financially benefitted by the increased

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        assessments under the 2019 Ordinance. See Simi Inv. Co. v. Harris County, 236 F.3d 240,
        254 (5th Cir. 2000) (“That the County acted to benefit solely private interests does not
        necessarily demonstrate a substantive due process violation. . . . However, the County
        failed to put forth any alternative rational basis for the continued interference with property
        rights. . . . [W]ithout a rational basis . . . the County’s arguments fail to survive even a
        rational basis review.”).

192.    Consequently, the Court concludes that the 2019 Ordinance deprives Plaintiffs of their
        constitutionally protected property interests without a rational basis and, as such, denies
        Plaintiffs due process under the United States Constitution.
PROCEDURAL DUE PROCESS AND THE 2019 ORDINANCE
193.    In order to establish a violation of their procedural due process rights, Plaintiffs must show
        that (i) they have a constitutionally protected property interest in having their real property
        subject to PID assessments lawfully apportioned and levied under the PIDA Act’s statutory
        commands; and (ii) the City Defendants deprived them of that interest without due process
        of law. Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982).
194.     In contrast to substantive due process, procedural due process requires the government to
        follow appropriate procedures when its agents decide to “deprive a person of life, liberty,
        or property.” Daniels v. Williams, 474 U.S. 327, 331 (1986).
195.    The core requirement of procedural due process is the opportunity to be heard at a
        meaningful time and in a meaningful manner. Mathews v. Eldridge, 424 U.S. 319, 333
        (1976).
196.    The Supreme Court has emphasized that procedural due process has two related but distinct
        goals:
               The purpose of this requirement is not only to ensure abstract fair play to
               the individual. Its purpose, more particularly, is to protect his use and
               possession of property from arbitrary encroachment––to minimize
               substantively unfair or mistaken deprivations of property. . . . For when a
               person has an opportunity to speak up in his own defense, and when the
               State must listen to what he has to say, substantively unfair and simply
               mistaken deprivations of property interests can be prevented.
        Fuentes v. Shevin, 407 U.S. 67, 80–81 (1972).
197.    The “right to be heard has little reality or worth unless one is informed that the matter is
        pending and can choose for himself whether to appear or default, acquiesce or contest.”
        Mullane v. Central Hanover Bank & Trust Co. 339 U.S. 306, 314 (1950).

198.    Due process requires “notice reasonably calculated, under all circumstances, to apprise
        interested parties of the pendency of the action and afford them an opportunity to present
        their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).

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199.    “The notice must be of such a nature as reasonably to convey the required information and
        it must afford a reasonable time for those interested to make their appearance.” Mullane v.
        Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).

200.    “The means employed must be such as one desirous of actually informing the absentee
        might reasonably adopt to accomplish it.” Mullane v. Central Hanover Bank & Trust Co.
        339 U.S. 306, 315 (1950).

201.    “Procedural due process is a flexible concept whose contours are shaped by the nature of
        the individual’s and the state interests in a particular deprivation.” Caine v. Hardy, 943
        F.2d 1406, 1412–13 (5th Cir. 1991) (en banc).

202.    Courts weigh several factors in deciding exactly how much process is due: (i) the private
        interest that will be affected by the official action; (ii) the risk of erroneous deprivation;
        (iii) the probable value, if any, of additional or substitute procedural safeguards; and (iv)
        the government’s interest, including the function involved and the fiscal and administrative
        burdens that the additional or substitute procedural requirement would entail. See Matthews
        v. Eldridge, 424 U.S. 319, 335 (1976).
203.    As noted above, Plaintiffs have satisfied the first prong of their procedural due process
        claim by establishing constitutionally protected property interests arising under the PIDA
        Act.
204.    Specific to their procedural due process claim, Plaintiffs have established a constitutionally
        protected property interest in having their real property subject to PID assessments lawfully
        apportioned and levied under the PIDA Act’s statutory commands. See TEX. LOC. GOV’T
        CODE §§ 372.013, 372.015–372.017.
205.    As discussed above, the City Defendants deprived Plaintiffs of this property right through
        the enactment of the 2019 Ordinance.
206.    The PIDA Act imposes annual procedural obligations on the City. TEX. LOC. GOV’T CODE
        § 372.013.
207.    Namely, the PIDA Act requires that the City Council conduct an annual review of the
        service and assessment plan. TEX. LOC. GOV’T CODE § 372.013.
208.    Pursuant to the annual review, the City Council was required to compare the estimated
        capital improvement costs set forth in the 2003 Ordinance against the actual capital
        improvement costs incurred by the developer, and determine whether the costs should be
        incorporated into the PID property owners’ capital assessments in subsequent years. TEX.
        LOC. GOV’T CODE §§ 372.013, 372.015.
209.    In passing the 2019 Ordinance, the City Defendants increased the capital assessments to
        incorporate the developer’s pre-2018 overrun capital improvement costs.


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210.    Under the PIDA Act, the City Defendants could only adjust the capital assessments on an
        annual basis to incorporate the overrun capital improvement costs incurred by the
        developer in that year. TEX. LOC. GOV’T CODE §§ 372.013, 372.015–372.017.
211.    Because the City failed to conduct the annual review in the years that the developer
        incurred its overrun capital improvement costs, by 2019, it no longer had the authority to
        adjust the capital assessment to account for the developer’s long-since-incurred costs.
212.    Until the 2019 Ordinance was enacted, Plaintiffs had no notice that their capital
        assessments would be impermissibly raised to account for the developer’s overrun
        expenditures.
213.    Rather, PID property owners had notice that the City would not be adjusting their capital
        assessments to incorporate the developer’s overrun capital improvement costs precisely
        because the City did not conduct the annual review or adjust their capital assessments in
        those years.
214.    The 2019 Ordinance increases Plaintiffs’ capital assessments in direct violation of the
        PIDA Act’s procedural requirements.
215.    In violating the PIDA Act’s procedural obligations, the City afforded Plaintiffs neither
        notice that their capital assessment would increase to incorporate impermissible developer
        costs, nor an opportunity to be heard.
216.    Because the City waived its right under the PIDA Act to adjust the capital assessments on
        account of the developer’s historical overrun costs, there is no process that the City could
        have provided Plaintiffs to satisfy the Constitution’s due process requirement.
217.    Consequently, the Court concludes that the 2019 Ordinance violates Plaintiffs’ procedural
        due process.

218.    Defendants argue that Plaintiffs’ procedural due process claim is barred by the two-year
        statute of limitations.

219.    Specifically, Defendants contend that, to the extent the City failed to conduct annual
        reviews and/or adjust the capital assessments to incorporate overrun capital improvement
        expenditures, such failures occurred outside the statute of limitations.

220.    The Court concludes that the statute of limitations does not bar Plaintiffs’ procedural due
        process claim.

221.    Plaintiffs were uninjured in the years that the City either failed to conduct the annual
        review, or approved the SAP without updating the assessments to incorporate already-
        incurred overrun capital improvement costs.




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222.    Because Plaintiffs’ were initially uninjured by the City’s PIDA Act violations, they had no
        cause of action upon which to seek relief.

223.    It was only until the passage of the 2019 Ordinance that Plaintiffs suffered cognizable harm
        in the form of increased capital assessments on their properties.

224.    Therefore, because Plaintiffs’ injuries accrued upon the passage of the 2019 Ordinance,
        their procedural due process claims are not barred by the statute of limitations.
ART. I, SEC. 16 OF THE TEXAS CONSTITUTION
225.    Plaintiffs also seek a declaration that the 2019 Ordinance is an unconstitutional retroactive
        law that is prohibited by the Texas Constitution.

226.    The Texas Constitution provides: “No bill of attainder, ex post facto law, retroactive law,
        or any law impairing the obligation of contracts, shall be made.” TEX. CONST. art. I, § 16.

227.    The prohibition against retroactive laws has two fundamental objectives: “[I]t protects the
        people’s reasonable, settled expectations” – i.e., “the rules should not change after the game
        has been played” – and it “protects against abuses of legislative power.” Robinson v. Crown
        Cork & Seal Co., Inc., 335 S.W.3d 126, 139 (Tex. 2010) (citing Landgraf v. USI Film
        Prods., 511 U.S. 244, 265–66 (1994)).

228.    A retroactive law is one that extends to matters that occurred in the past. Tenet Hosps. Ltd.
        v. Rivera, 445 S.W.3d 698, 707 (Tex. 2014).

229.    “A retroactive statute is one which gives preenactment conduct a different legal effect from
        that which it would have had without the passage of the statute.” Union Carbide Corp. v.
        Synatzske, 438 S.W.3d 39, 60 (Tex. 2014); see also Baytown Constr. Co. v. Port Arthur,
        792 S.W.2d 554, 560 (Tex. App.––Beaumont 1990, no pet.) (“A retroactive law is an
        ordinance or governmental action which take away or impairs and diminishes the rights
        acquired under existing laws . . . or creates new obligations and imposes new duties in
        respect to transactions or contracts.”).

230.    Here, the Court concludes that the 2019 Ordinance is a retroactive law.

231.    Specifically, the 2019 Ordinance addresses the developer’s preenactment conduct of
        incurring overrun capital costs associated with the PID improvement projects, and the
        City’s preenactment conduct of failing to comply with the PIDA Act.

232.    Further, the 2019 Ordinance gives this preenactment conduct “a different legal effect from
        that which it would have had without the passage of” the 2019 Ordinance. Union Carbide
        Corp. v. Synatzske, 438 S.W.3d 39, 60 (Tex. 2014).



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233.    The 2019 Ordinance increases the capital assessments on Plaintiffs’ properties, and extends
        the time from which Plaintiffs may obtain a release of liens on their properties.

234.    To determine whether a retroactive law violates the Texas Constitution’s prohibition
        against retroactive laws, Texas courts consider three factors in light of the prohibition’s
        objectives of protecting settled expectations and of preventing legislative abuses: (i) “the
        nature and strength of the public interest served by the statute as evidenced by the
        Legislature’s factual findings;” (ii) “The nature of the prior right impaired by the statute;”
        and (iii) “the extent of the impairment.” Robinson v. Crown Cork & Seal Co., Inc., 335
        S.W.3d 126, 139 (Tex. 2010).

235.    Under the first Robinson factor, the City contends that it enacted the 2019 Ordinance in
        order to “reconcile the District operation.” Exhibit P-009 (finding that “several provisions
        of the existing 2003 SAP unworkable, necessitating this amendment and restatement”).

236.    Specifically, the City argues that the 2019 Ordinance was required to address (i) changes
        in the distribution of commercial, multifamily and single family lots, and (ii) the
        developer’s overrun capital improvement expenditures incurred prior to 2011.

237.    Because the Court has concluded that the City forfeited its right to update the capital
        assessments when it failed to conduct the annual review procedures in the years such
        overrun costs were incurred, the Court concludes that that the purported public interest
        served by the 2019 Ordinance cannot be consider compelling. See Robinson v. Crown Cork
        & Seal Co., Inc., 335 S.W.3d 126, 143–44 (Tex. 2010) (holding that retroactive legislation
        ostensibly enacted for sole benefit of one entity and not supported by legislative fact
        findings did not serve compelling government interest).

238.    Under the second Robinson factor, the Court considers not whether the impaired right was
        “vested,” but the extent to which that right was “settled.” Robinson v. Crown Cork & Seal
        Co., Inc., 335 S.W.3d 126, 142–43, 147, 149 (Tex. 2010).

239.    As discussed above, Plaintiffs possess protected property rights under the PIDA Act.

240.    Specifically, under the statutory structure of the PIDA Act, Plaintiffs enjoyed settled rights
        to not be assessed the developer’s overrun capital costs in the years that the City failed to
        conduct the annual review procedures.

241.    Under the third Robinson factor, the Court considers the extent of the 2019 Ordinance’s
        impairment of Plaintiffs’ settled rights.

242.    The effect of the 2019 Ordinance on the property rights at issue here is clear – the 2019
        Ordinance increases Plaintiffs PID assessments despite the fact that the City failed to



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        comply with the PIDA Act’s statutory scheme for adjusting assessments, and failed to
        accurately credit Plaintiffs for past capital assessments paid.

243.    Because the record shows that the 2019 Ordinance serves a minimal, if any, public interest
        while having a significant impact on Plaintiffs’ interests in a constitutionally protected
        property right, the Court holds that the 2019 Ordinance is unconstitutionally retroactive.
                                        COUNT IV
NEGLIGENT MISREPRESENTATION
244.    Under Texas law, to succeed on a claim for negligent misrepresentation, Plaintiffs must
        prove: (i) TFHC made a representation to Plaintiffs in the course of TFHC’s business or in
        a transaction in which TFHC had a pecuniary interest; (ii) TFHC supplied false information
        for the guidance of others; (iii) TFHC did not use reasonable care in obtaining or
        communicating the information; (iv) Plaintiffs justifiably relied on the representation; and
        (v) TFHC’s negligent misrepresentation proximately caused Plaintiffs’ injuries. See, e.g.,
        JPMorgan Chase Bank v. Orca Assets G.P, LLC, 546 S.W.3d 648, 653–54 (Tex. 2018).

245.    A claim for negligent misrepresentation can be based on a defendant’s failure to disclose
        information when there is a duty to do so. See Brown & Brown v. Omni Metals, Inc., 317
        S.W.3d 361, 384 (Tex. App.—Houston [1st Dist.] 2010, pet. denied).

246.    A duty to disclose can arise under four situations: “(1) where there is a special or fiduciary
        relationship; (2) where one voluntarily discloses partial information, but fails to disclose
        the whole truth; (3) where one makes a representation and fails to disclose new information
        that makes the earlier representation misleading or untrue; and (4) where one makes a
        partial disclosure and conveys a false impression.” Buraimoh v. Bmw of N. Am., 2020 U.S.
        Dist. LEXIS 243303, at *12 (W.D. Tex. Dec. 29, 2020) (citing Bradford v. Ventro, 997
        S.W.2d 713, 725 (Tex. App.—Corpus Christi 1999) aff’d in part & reversed in part on
        other grounds by Bradford v. Vento, 48 S.W.3d 749 (Tex. 2001)).

247.    The Court concludes that TFHC is liable for negligent misrepresentation.

248.    Under the first element of negligent misrepresentation, the Court finds that TFHC made a
        representation to Plaintiffs in the course of TFHC’s business or in a transaction in which
        TFHC had a pecuniary interest.

249.    Specifically, on March 27, 2018, in response to Robert Reetz’s inquiry regarding the capital
        assessments levied against VHC’s property, Misty Ventura represented to Mr. Reetz that,
        under the 2003 Ordinance: (i) the capital assessments levied on VHC’s property ID no.
        R104899 was $354,859.93; (ii) the capital assessments paid on VHC’s property ID no.
        R104899 was $55,408.67; and (iii) the remaining capital assessments owed on VHC’s
        property ID no. R104899 was $299,451.26.


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250.    As the PID developer, this representation was made in the course of TFHC’s business.

251.    In addition, this representation was made in a transaction in which TFHC had a pecuniary
        interest, as TFHC stood to indirectly profit from any capital assessment payments made by
        VHC.

252.    Under the second element of negligent misrepresentation, the Court finds that TFHC
        supplied false information for the guidance of VHC.

253.    Ms. Ventura’s March 27, 2018 email response to Mr. Reetz contained false information.

254.    Ms. Ventura’s calculations regarding the levied and outstanding capital assessments on
        VHC’s property ID no. R104899 under the 2003 Ordinance were based on the incorrect
        premise that the original PID developer was lawfully exempted from paying capital
        assessments on property ID no. R104899.

255.    Furthermore, Ms. Ventura’s calculations cannot be reconciled with TFHC’s claim that
        VHC’s capital assessments are the same under both the 2003 and 2019 Ordinances.

256.    In the March 27, 2018 email, Ms. Ventura represented that the total unpaid capital
        assessments on VHC’s property ID no. R104899 was $299,451.26. Exhibit P-045.

257.    The 2019 Ordinance plainly states that the total unpaid capital assessments on VHC’s
        property ID no. R104899 is $793,158.16. Exhibit P-009.

258.    Ms. Ventura’s representation was made for the guidance of VHC, as Mr. Reetz had asked
        Ms. Ventura to obtain calculate VHC’s exact assessment obligations under the 2003
        Ordinance.

259.    Moreover, TFHC had a duty to disclose to VHC that the Ms. Ventura’s representations in
        the March 27, 2018 were incorrect under the 2019 Ordinance.

260.    A duty to disclose arises “where one makes a representation and fails to disclose new
        information that makes the earlier representation misleading or untrue.” Buraimoh v. Bmw
        of N. Am., 2020 U.S. Dist. LEXIS 243303, at *12 (W.D. Tex. Dec. 29, 2020) (citing
        Bradford v. Ventro, 997 S.W.2d 713, 725 (Tex. App.—Corpus Christi 1999) aff’d in part
        & reversed in part on other grounds by Bradford v. Vento, 48 S.W.3d 749 (Tex. 2001)).

261.    Following Ms. Ventura’s March 27, 2018 communication with Mr. Reetz, TFHC
        negotiated with the City in an effort to maximize its PID reimbursements in excess of what
        was permitted under both the 2003 Ordinance and the PID Act.



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262.    Because TFHC’s attempt to maximize its PID reimbursements through secret negotiations
        with the City constituted “new information” that rendered Ms. Ventura’s March 27, 2018
        email untrue, TFHC had a duty to disclose to VHC that its capital assessments would
        increase if its negotiations were successful.

263.    TFHC’s failure to correct its error and disclose to VHC that its capital assessments would
        in fact increase under the 2019 Ordinance satisfies the second element of negligent
        misrepresentation.

264.    Under the third element of negligent misrepresentation, the Court finds that TFHC did not
        use reasonable care in obtaining and communicating the false information.

265.    In the months following Ms. Ventura’s March 2018 email to Mr. Reetz, Ms. Ventura was
        engaged in negotiations with George Hyde over the amount of reimbursements that TFHC
        could lawfully receive under the 2003 Ordinance.

266.    Through these negotiations, Mr. Hyde repeatedly expressed concern over the legal
        accuracy of Ms. Ventura’s claim regarding the amount of reimbursement to which TFHC
        was legally permitted under the 2003 Ordinance.

267.    Moreover, the result of these negotiations – the 2019 Ordinance – increased VHC’s total
        capital assessment on property ID no. R104899.

268.    Despite Ms. Ventura’s knowledge that she had supplied false information to VHC, TFHC
        did not correct its error and disclose this fact to VHC.

269.    Taken together, the record shows that TFHC neither exercised reasonable care in obtaining
        and communicating the calculations supporting VHC’s levied and outstanding capital
        assessments on property ID no. R104899, nor exercised reasonable care in disclosing to
        VHC that Ms. Ventura’s March 27, 2018 was subsequently untrue.

270.    Under the fourth element of negligent misrepresentation, the Court concludes that VHC
        justifiably relied on TFHC’s negligent misrepresentation.

271.    The PIDA Act proves PID property owners the right to “pay at any time all or any party of
        the assessment . . . on any lot or parcel.” TEX. LOC. GOV’T CODE § 372.018(f).

272.    Had VHC known in March 2018 that its capital assessments would impermissibly increase
        under the 2019 Ordinance, VHC could have sought and obtained a full payoff of its capital
        assessment lien by paying, in lump sum, its individual capital assessment obligation as set
        forth in the 2003 Ordinance.




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273.    VHC did seek to obtain a payoff and release of liens pursuant to TEX. LOC. GOV’T CODE §
        372.018(f); However, the City effectively denied VHC of this right by initially refusing to
        provide a payoff sum, and later claiming that VHC would have to pay the total outstanding
        capital assessment on the entire 283 acres of the PID.

274.    Notwithstanding that the City denied VHC of the right to obtain a payoff pursuant to TEX.
        LOC. GOV’T CODE § 372.018(f) prior to the enactment of the 2019 Ordinance, VHC
        reasonably relied on TFHC’s misrepresentations that its capital assessments would not
        increase from the amount set forth in the 2003 Ordinance.

275.    Under the final element of negligent misrepresentation, the Court finds that TFHC’s
        negligent misrepresentation proximately caused Plaintiffs’ injuries.

276.    As discussed above, the 2019 Ordinance increased (i) Plaintiff Carolyn Smith’s capital
        assessments by at least $1,792.00; (ii) Plaintiff LIRTEX’s capital assessments by at least
        $716,197; and (iii) Plaintiff VHC’s capital assessments by at least $661,389.

277.    The Court concludes that TFHC’s negligent misrepresentation has caused damage to
        Plaintiff Carolyn Smith in the amount of $1,792.00.

278.    The Court concludes that TFHC’s negligent misrepresentation has caused damage to
        Plaintiff LIRTEX Properties, LLC, in the amount of $716,197.

279.    The Court concludes that TFHC’s negligent misrepresentation has caused damage to
        Plaintiff The Village at Hunters Crossing, LLC, in the amount of $661,389.
FINAL JUDGMENT
As the Court has entered its findings of fact and conclusions of law in the above-referenced matter,
the Court hereby:
DECLARES that the 2019 Ordinance enacted by Defendant City of Bastrop is INVALID;
DECLARES that the Individual Defendants have acted ultra vires in seeking to enforce the 2019
Ordinance;
DECLARES that the capital assessments on Plaintiff Carolyn Smith’s PID property ID no. R95408
is limited to and may not be increased from $1,599.57, which represents Carolyn Smith’s
remaining portion of the 2003 capital assessment of $7,475,734.00, less all capital assessment
payments made on property ID no. R95408, and less the proportionate amount that the original
PID developer should have paid in capital assessments until it sold property ID no. R95408;
DECLARES that the capital assessments on Plaintiff LIRTEX Properties, LLC’s PID property ID
nos. R30102 and R114958 are limited to and may not be increased from $0.00, which represents
LIRTEX Properties, LLC’s remaining portion of the 2003 capital assessment of $7,475,734, less
all capital assessment payments made on property ID nos. R30102 and R114958, and less the

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proportionate amount that the original PID developer should have paid in capital assessments until
it sold property ID nos. R30102 and R114958;
DECLARES that the capital assessments on Plaintiff The Village at Hunters Crossing, LLC’s PID
property ID no. R104899 is limited to and may not be increased from $54,677.14, which represents
The Village at Hunters Crossing, LLC’s remaining portion of the 2003 capital assessment of
$7,475,734, less all capital assessment payments made on property ID no. R104899, and less the
proportionate amount that the original PID developer should have paid in capital assessments until
it sold property ID no. R104899;
ORDERS that the Individual Defendants are PERMANENTLY ENJOINED from implementing
or enforcing the 2019 Ordinance;
ENTERS judgment in the amount of $1,379,379 against TFGC for negligent misrepresentation;
and
AWARDS Plaintiffs reasonable and necessary attorneys’ fees and costs of court.




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                EXHIBIT E
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

CAROLYN SMITH, THE VILLAGE AT              §
HUNTERS CROSSING, L.L.C. and               §
LIRTEX PROPERTIES, LLC,                    §
                                           §
           Plaintiffs,                     §
                                           §
v.                                         §
                                           §
THE CITY OF BASTROP, TEXAS,                §
CONNIE SCHROEDER, WILLIE LEWIS §
“BILL” PETERSON, DRUSILLA                  §
ROGERS, LYLE NELSON, BILL ENNIS, §
and DOCK JACKSON, each in his or her       §
official capacity as a member of the City  §
Council of the City of Bastrop, Texas, and §          CIVIL ACTION NO. 1:19-cv-01054
LYNDA HUMBLE, DRUSILLA                     §
ROGERS, RICK WOMBLE, MICHELLE §
DODSON, LYLE NELSON AND                    §
TABITHA PUCEK, each in his or her          §
official capacity as a Director of Hunters §
Crossing Local Government Corporation, §
and TF HUNTERS CROSSING, L.P. as           §
successor-in-interest to FORESTAR (USA) §
REAL ESTATE GROUP, INC.,                   §
                                           §
        Defendants.                        §
                                           §
                                           §



                     PLAINTIFFS’ STATEMENT OF AN ESTIMATE
                       OF THE PROBABLE LENGTH OF TRIAL


TO THE HONORABLE JUDGE ROBERT PITMAN:
        Pursuant to Local Rule CV-16(e)(10), Plaintiffs Carolyn Smith, The Village at Hunters

Crossing, LLC, and Lirtex Properties, LLC, estimate the probable length of trial in the above-

styled and referenced cause number to be between two (2) and three (3) days.




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